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                         Attorneys for Defendant,
                    12   BMW OF NORTH AMERICA, LLC
                    13
                                             UNITED STATES DISTRICT COURT
                    14
                                           SOUTHERN DISTRICT OF CALIFORNIA
                    15

                    16
                         FREDERICK J. JUROSKY,                  Case No. 3:19-cv-00706-JM-BGS
                    17
                                            Plaintiff,          Judges: District Judge Jeffrey T. Miller and
                    18                                          Magistrate Judge Bernard G. Skomal
                                  vs.
                    19                                          DEFENDANT BMW OF NORTH AMERICA,
                         BMW OF NORTH AMERICA,                  LLC’S REQUEST FOR JUDICIAL NOTICE
                    20   LLC; and DOES 1 through 10,            IN SUPPORT OF OPPOSITION TO
                         inclusive,                             PLAINTIFF’S MOTION FOR ATTORNEY
                    21                                          FEES, COSTS AND EXPENSES
                                            Defendant.
                    22                                          [Filed concurrently with Opposition; Declaration
                                                                of Garrick Y. Chan; Objection to Request for
                    23                                          Judicial Notice; Objection to the Declaration of
                                                                Jacob Cutler; Objection to the Declaration of
                    24                                          Michael H. Rosenstein; Objection to the
                                                                Declaration of Dara Tabesh; and Objection to the
                    25                                          Declaration of Payam Shahian]
                    26                                          Date:           June 8, 2020
                                                                Time:           10:00 a.m.
                    27                                          Dept.:          5D
                    28
MORGAN, LEWIS &
 BOCKIUS LLP               DEFENDANT BMW OF NORTH AMERICA, LLC’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
 ATTORNEYS AT LAW
 SAN FRANCISCO
                                OPPOSITION TO PLAINTIFF’S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                         DB2/ 38975971.1
           Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2456 Page 2 of 97



                     1            Pursuant to Rule 201 of the Federal Rules of Evidence, Defendant BMW of
                     2   North America, LLC (“BMW NA”) respectfully requests that this Court take
                     3   judicial notice of the following:
                     4            1.       Attached hereto as Exhibit A are true and correct copies of the
                     5   complaints from: McDonald v. BMW NA, San Diego Superior Court, Case Number
                     6   37-2017-00025907-CU-BC-CTL; Yi v. BMW NA, Central District of California,
                     7   Case Number 2:17-cv-06467-SVW-SK; and Broadhag v. BMW NA, Los Angeles
                     8   Superior Court, Case Number BC677890.
                     9            2.       Attached hereto as Exhibit B is a true and correct copy of the
                    10   Declaration of Erin Melody-Rosenfield in Support of SLP Plaintiffs’ Opposition to
                    11   Kia Motors America, Inc.’s Petition for Coordination in Darmohray v. Kia Motors
                    12   America, Inc. (Santa Clara County Case Number 19CV329904).
                    13            3.       Attached hereto as Exhibit C is a true and correct copy of the court’s
                    14   Tentative Ruling On Motion for Attorneys’ Fees, Costs and Expenses in Allen v.
                    15   Jaguar Land Rover, San Diego Superior Court, Hon. Timothy Taylor presiding,
                    16   Case Number 37-2017-00042273-CU-BC-CTL.
                    17            4.       Attached hereto as Exhibit D is a true and correct copy of the court’s
                    18   Order on SLP’s Motion for Fees in Mikhaeilpoor v. BMW NA, Superior Court of
                    19   Los Angeles, Hon. Randolph Hammock presiding, Case Number BC611197.
                    20            5.       Attached hereto as Exhibit E is a true and correct copy of the Court of
                    21   Appeal of the State of California, Second Appellate District, Division One’s order
                    22   regarding SLP’s appeal from the trial court’s order as to Plaintiff’s attorneys fees in
                    23   Mikhaeilpoor v. BMW NA, Case No. B293987.
                    24

                    25   ///
                    26   ///
                    27   ///
                    28
MORGAN, LEWIS &
                                                                        1
 BOCKIUS LLP               DEFENDANT BMW OF NORTH AMERICA, LLC’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
 ATTORNEYS AT LAW
 SAN FRANCISCO
                                OPPOSITION TO PLAINTIFF’S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                         DB2/ 38975971.1
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                     1            A court may take judicial notice of matters of public record if the facts are
                     2   not subject to a reasonable dispute. Fed. R. Evid. 201. Court orders and filings are
                     3   proper subject of judicial notice. See, e.g., Pasta Bella, LLC v. Visa USA, Inc., 442
                     4   F.3d 741, 746 n. 6 (9th Cir. 2006) (taking judicial notice of pleadings, memoranda,
                     5   and other court filings).
                     6   Dated: May 22, 2020                           MORGAN, LEWIS & BOCKIUS LLP
                                                                       Molly Moriarty Lane
                     7                                                 Lisa Weddle
                                                                       Brian Hom
                     8                                                 Garrick Y. Chan
                     9
                    10                                                By /s/ Garrick Y. Chan
                                                                        Garrick Y. Chan
                    11                                                  Attorneys for Defendant,
                                                                        BMW OF NORTH AMERICA, LLC
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 BOCKIUS LLP               DEFENDANT BMW OF NORTH AMERICA, LLC’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
 ATTORNEYS AT LAW
 SAN FRANCISCO
                                OPPOSITION TO PLAINTIFF’S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
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               EXHIBIT A
      TO REQUEST FOR JUDICIAL NOTICE
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            3                                                                         I n't

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            6   Facsimile: (310) 943-3838
            7
                Attorneys for Plaintiff KURT BROADHAG
            8

            9
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
           10
                            COUNTY OF LOS ANGELES           -   UNLIMITED JURISDICTION
           11                                                                                         g9 0
  Ia   -   12
  -             KURT BROADHAG,                                  Case Nos.:
           13
                              Plaintiff,                        COMPLAINT FOR DAMAGES AND
           14                                                   DEMAND FOR JURY TRIAL
  th               VS.
           15
  o             BMW OF NORTH AMERICA, LLC; and
  Ocn      16
  I             DOES I through 10, inclusive,
           17
                            Defendants.
           18

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                                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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            1            Plaintiff alleges as follows:

            2                                                PARTIES

            3                    As used in this Complaint, the term "Plaintiff" shall refer to Plaintiff KURT

            4 I BROADHAG.

            5                    Plaintiff is a resident of Los Angeles County, California.

            6                    As used in this Complaint, the term "Defendants" shall refer collectively to all

            7     Defendants named in this Complaint, while the term "Defendant BMW NA" shall refer to

            8     Defendant BMW of North America, LLC only.

            9                    Defendant BMW of North America, LLC is a limited liability company

           10     organized and in existence under the Laws of the State of Delaware and registered with the

           11     California Department of Corporations to conduct business in California. At all times relevant
U)

(?         12     herein, Defendant was engaged in the business of designing, manufacturing, constructing,
-4


           13     assembling, marketing, distributing, and selling automobiles and other motor vehicles and

           14     motor vehicle components in Los Angeles County.

           15                    Plaintiff is ignorant of the true names and capacities of the Defendants sued

           16     under the fictitious names DOES Ito 10. They are sued pursuant to Code of Civil Procedure
t-
           17     section 474. When Plaintiff becomes aware of the true names and capacities of the
     44
     -14   18     Defendants sued as DOES Ito 10, Plaintiff will amend this Complaint to state their true

           19     names and capacities.

           20                        TOLLING OF THE STATUTES OF LIMITATIONS

           21            6.      To the extent there are any statutes of limitation applicable to Plaintiff's

           22     claims—including, without limitation, his express warranty and implied warranty—the

           23     running of the limitation periods have been tolled by equitable tolling, the discovery rule,

           24     fraudulent concealment rule, repair rule, and/or equitable estoppel.

           25   I /1/
           26     I/I

           27    'II
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                                          COMPLAINT FOR DAMAGES ANI) DEMAND FOR JURY TRIAL
    Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2461 Page 7 of 97




                                                   FIRST CAUSE OF ACTION

          2                                BY PLAINTIFF AGAINST DEFENDANTS

          3               VIOLATION OF SUBDIVISION (0) OF CIVIL CODE SECTION 1793.2

          4         7.       On or about June 2, 20110, Plaintiff purchased a 2011 BMW 550i vehicle

          5   identification number WBAFR9C56BC271025, (hereafter "Vehicle") which was

          6   manufactured and/or distributed by Defendants. The Vehicle was purchased and/or primarily

          7   used for personal, family, or household purposes. Plaintiff purchased the Vehicle from a

          8   person or entity engaged in the business of manufacturing, distributing, or selling consumer

          9   goods at retail.

         10          8.      In connection with the purchase, Plaintiff received an express written warranty

         11   in which Defendants undertook to preserve or maintain the utility or performance of the
U)
         12   Vehicle or to provide compensation if there is a failure in utility or performance for a
-

         13   specified period of time. The warranty provided, in relevant part, that in the event a defect

         14   developed with the Vehicle during the warranty period, Plaintiff could deliver the Vehicle for
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         15   repair services to Defendants' representative and the Vehicle would be repaired.

         16          9.      During the warranty period, the Vehicle contained and/or developed defects,

         17   including but not limited to, defects causing excessive oil consumption; defects necessitating
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         18   excessive oil top-offs in between regular oil services; defects causing oil leaks; defects

         19   causing the Vehicle to burn engine oil; defects causing an oil loss error message, defects

         20   causing a burnt oil smell, defects causing the illumination of the "low oil" light; defects

         21   causing low oil levels; defects causing the crank case and/or its components to crack; defects

         22   with the hydraulic pump; defects causing a burnt coolant smell; defects causing coolant leaks,

         23   defects causing the drivetrain malfunction error message to come on; defects causing the

         24   Vehicle to emit white smoke; defects causing the vehicle to shake badly while operating;

         25   defects causing misfires in the cylinders; defects related to the pressure pump; defects causing

         26   low pressure; defects related to the fuel supply line; defects causing the fuel injectors to leak;

         27   defects causing the fuel injectors to become fouled; defects causing the spark plugs to become

         28   fouled with fuel; defects causing a strong smell of fuel; defects related to the Vehicle's

                                                               2

                                     COMPLAINT FOR DAMAGES AND DEMAND rOR JuRY TRIAL
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               engine; defects related to misfiring in cylinders; defects related to faulty fuel injectors; defects

           2   related to faulty coils; defects related to faulty spark plugs; defects causing the Vehicle to run

           3   rough and/or sound rough; defects causing abnormal noises; defects causing vibrations when

           4   accelerating; defects related to the Vehicle's cooling system; defects causing the coolant

           5   expansion tank and cap to leak; defects causing the coolant return line to leak; and all other

           6   defects as shown in the Vehicle repair history. Said defects substantially impair the use,

           7   value, or safety of the Vehicle.

           8                   Defendants and their representatives in this state have been unable to service or

           9   repair the Vehicle to conform to the applicable express warranties after a reasonable number

          10   of opportunities. Despite this fact, Defendants failed to promptly replace the Vehicle or make

          11   restitution to Plaintiff as required by Civil Code section 1793.2, subdivision (d) and Civil
oo
o i.<     12   Code section 1793.1, subdivision (a)(2).

          13                   Plaintiff has been damaged by Defendants' failure to comply with its

          14   obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil Code section
(1   -C   15   1793. 1, subdivision (a)(2), and therefore brings this cause of action pursuant to Civil Code

          16   section 1794.
-Co                            Plaintiff suffered damages in a sum to be proven at trial in an amount that
Z Cb 17
Cn
          18   exceeds $25,000.00.

          19                   Defendants' failure to comply with its obligations under Civil Code section

          20   1793.2, subdivision (d) was willful, in that Defendants and their representative were aware

          21   that they were unable to service or repair the Vehicle to conform to the applicable express

          22   warranties after a reasonable number of repair attempts, yet Defendants failed and refused to

          23   promptly replace the Vehicle or make restitution. Accordingly, Plaintiff is entitled to a civil

          24   penalty of two times Plaintiff's actual damages pursuant to Civil Code section 1794,

          25   subdivision (c).

          26                   Defendants do not maintain a qualified third-party dispute resolution process

          27   which substantially complies with Civil Code section 1793.22. Accordingly, Plaintiff is

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                                                                              I




               entitled to a civil penalty of two times Plaintiff's actual damages pursuant to Civil Code

           2   section 1794, subdivision (e).

           3                  Plaintiff seeks civil penalties pursuant to section 1794, subdivisions (c), and (e)

           4   in the alternative and does not seek to cumulate civil penalties, as provided in Civil Code

           5   section 1794, subdivision (f).

           6                                     SECOND CAUSE OF ACTION

           7                            BY PLAINTIFF AGAINST DEFENDANTS

           8           VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION 1793.2

           9                  Plaintiff incorporates by reference the allegations contained in the paragraphs

          10   set forth above.

          11                  Although Plaintiff presented the Vehicle to Defendants' representative in this
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     01   12   state, Defendants and their representative failed to commence the service or repairs within a
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     c: 13     reasonable time and failed to service or repair the Vehicle so as to conform to the applicable

          14   warranties within 30 days, in violation of Civil Code section 1793.2, subdivision (b). Plaintiff

          15   did not extend the time for completion of repairs beyond the 30-day requirement.
o
          16                  Plaintiff has been damaged by Defendants' failure to comply with its
'9
F.
          17   obligations pursuant to Civil Code section 1793.2(b), and therefore brings this Cause of

          18   Action pursuant to Civil Code section 1794.

          19                  Plaintiff has rightfully rejected and/or justifiably revoked acceptance of the

          20   Vehicle, and has exercised a right to cancel the purchase. By serving this Complaint, Plaintiff

          21   does so again. Accordingly, Plaintiff seeks the remedies provided in California Civil Code

          22   section 1794(b)(1), including the entire contract price. In the alternative, Plaintiff seeks the

          23   remedies set forth in California Civil Code section 1794(b)(2), including the diminution in

          24   value of the Vehicle resulting from its defects. Plaintiff believes that, at the present time, the

          25   Vehicle's value is de ininimis.

          26                  Defendants' failure to comply with their obligations under Civil Code section

          27   1793.2(b) was willful, in that Defendants and their representative were aware that they were

          28   obligated to service or repair the Vehicle to conform to the applicable express warranties


                                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIM..
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              I   within 30 days, yet they failed to do so. Accordingly, Plaintiff is entitled to a civil penalty of

              2   two times Plaintiff's actual damages pursuant to Civil Code section 1794(c).

              3                                     THIRD    CAUSE OF ACTION

              4                             BY PLAINTIFF AGAINST DEFENDANTS

              5           VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION 1793.2

              6            21.     Plaintiff incorporates by reference the allegations contained in paragraphs set

              7   forth above.

              8            22.     In violation of Civil Code section 1793.2, subdivision (a)(3), Defendants failed

              9   to make available to its authorized service and repair facilities sufficient service literature and

             10   replacement parts to effect repairs during the express warranty period. Plaintiff has been

             11   damaged by Defendants' failure to comply with its obligations pursuant to Civil Code section

             12   1793.2(a)(3), and therefore brings this Cause of Action pursuant to Civil Code section 1794.

             13            23.     Defendants' failure to comply with its obligations under Civil Code section
fl.4 z*           1793.2, subdivision (a)(3) was wilful, in that Defendants knew of its obligation to provide
-    8       14

             15   literature and replacement parts sufficient to allow its repair facilities to effect repairs during
     Cs
o -u'
             16   the   warranty period, yet Defendants failed to take any action to correct its failure to comply

             17   with the law. Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff's actual
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         -   18   damages; pursuant to Civil Code section 1794(c).

             19                                    FOURTH CAUSE OF ACTION

             20                             BY PLAINTIFF AGAINST DEFENDANTS

             21                         BREACH OF EXPRESS WRITTEN WARRANTY
                                                                                                            -

             22                              (CIV. CODE, § 1791.2, SUED. (a); § 1794)

             23            24.     Plaintiff incorporates by reference the allegations contained in paragraphs set

             24   forth above.

             25            25.     In accordance with Defendants' warranty, Plaintiff delivered the Vehicle to

             26   Defendants' representative in this state to perform warranty repairs. Plaintiff did so within a

             27   reasonable time. Each time Plaintiff delivered the Vehicle, Plaintiff notified Defendants and

             28

                                                                    5
                                          COMPLAINT   FOR DAMAGES ANT) DEMAND Volt Juuv TRIAL
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               their representative of the characteristics of the Defects. However, the representative failed 10

           2   repair the Vehiéle, breaching the terms of the written warranty on each occasion.

           3                  Plaintiff has been damaged by Defendants' failure to comply with its

           4   obligations under the express warranty, and therefore brings this Cause of Action pursuant to

           S   Civil Code section 1794.

           6                  Defendants' failure to comply with its obligations under the express warranty

           7   was willful, in that Defendants and their authorized representative were aware that they were

           8   obligated to repair the Defects, but they intentionally refused to do so. Accordingly, Plaintiff

           9   is entitled to a civil penalty of two times of Plaintiff's actual damages pursuant to Civil Code

          10   section 1794(c).

          11                                       FIFTH CAUSE OF ACTION
a,
          12                            BY PLAINTIFF AGAINST ALL DEFENDANTS
o 01      13               BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
g
          14                                      (CIV. CODE, § 1791.1; § 1794)
C-) -fl
w         15                  Plaintiff incorporates by reference the allegations contained in the paragraphs
U
- WI 16 I set forth above.
Cu,

     01                       Pursuant to Civil Code section 1792, the sale of the Vehicle was accompanied
          17
cn c1: 18      by Defendants' implied warranty of merchantability. Pursuant to Civil Code section 1791 .1,

          19   the duration of the implied warranty is coextensive in duration with the duration of the express

          20   written warranty provided by Defendants, except that the duration is not to exceed one-year.

          21                  Pursuant to Civil Code section 1791.1 (a), the implied warranty of

          22   merchantability means and includes that the Vehicle will comply with each of the following

          23   requirements: (I) The Vehicle will pass without objection in the trade under the contract

          24   description; (2) The Vehicle is fit for the ordinary purposes for which such goods are used; (3)

          25   The Vehicle is adequately contained, packaged, and labelled; (4) The Vehicle will conform to

          26   the promises or affirmations of fact made on the container or label.

          27                  At the time of purchase, or within one-year thereafter, the Vehicle contained or

          28   developed the defects set forth above. The existence of each of these defects constitutes a



                                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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           1   breach of the implied warranty because the Vehicle (1) does not pass without objection in the

           2   trade under the contract description, (2) is not fit for the ordinary purposes for which such

           3   goods are used, (3) is not adequately contained, packaged, and labelled, and (4) does not

           4   conform to the promises or affirmations of fact made on the container or label.

           5           32.     Plaintiff has been damaged by Defendants' failure to comply with its

           6   obligations under the implied warranty, and therefore brings this Cause of Action pursuant to

           7   Civil Code section 1794.

           8                                        SIXTH CAUSE OF ACTION

           9   BY PLAINTIFF AGAINST DEFENDANT BMW OF NORTH AMERICA, LLC ONLY

          10                                                      (Fraud)

          11                   Plaintiff's sixth cause of action applies only as to Defendant BMW NA.
     Z;
0         12                   Plaintiff purchased the Vehicle as manufactured with Defendant BMW NA's V-

          13   8, turbocharged engine, which BMW and enthusiasts refer to as the "N63."

          14                   Defendant BMW NA committed fraud by allowing the Vehicle to be sold to

          15   Plaintiff without disclosing that the Vehicle and its N63 engine was defective and susceptible to

          16   sudden and premature failure.
c,
F'
          17                   In particular, Plaintiff is informed, believe, and thereon alleges that prior to
to
          IS   Plaintiff acquiring the Vehicle, BMW NA was well aware and knew that the N63 engine

          19   installed on the Vehicle was defective but failed to disclose this fact to Plaintiff at the time of

          20   sale and thereafter.'

          21                   Specifically, BMW NA knew (or should have known) that the twin-turbo

          22   charged engine had one or more defects that causes the subject vehicle to be unable to properly

          23   utilize the engine oil and, in fact, to improperly bum off and/or consume abnormally high

          24   amounts of oil (the "Oil Consumption Defect"). The Oil Consumption Defect decreases the

          25   lubrication available to engine parts, which results in premature failure. As a consequence, the

          26

          27

          28            Indeed, Defendani has issued various internal technical bulletins to its dealers (not consumers)
               concerning the Engine Defect.


                                        COMPLAINT FOR DAMAGES AND DEMAND FOR Junv TRIAL
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                 Oil Consumption Defect requires unreasonably frequent oil changes and/or the addition of oil

                 between scheduled oil changes.2
                                 The Oil Consumption Defect is a safety concern because it prevents the engine

                 from maintaining the proper level of engine oil, and causes voluminous oil consumption that

                 cannot be reasonably anticipated or predicted. Therefore, the Oil Consumption Defect is

                 unreasonably dangerous because it can cause engine failure while the subject vehicle is in

                 operation at any time and under any driving conditions or speeds, thereby exposing the subject

                 vehicle's driver, passengers, and others who share the road with them, to serious risk of

                 accidents and injury.

            10                   Plaintiff is informed, believes and thereon alleges that Defendant BMW NA

                 acquired its knowledge of the Oil Consumption Defect prior to the time when Plaintiff acquired
U)

(2
            12   the Vehicle, though sources not available to consumers such as Plaintiff, including but not
-I


      0     13   limited to pre-production and post-production testing data, early consumer complaints about the
      All
PM               engine defect made directly to BMW NA and its network of dealers, aggregate warranty data
      03 14
Lb
            15   compiled from BMW NA's network of dealers, testing conducted by BMW NA in response to
C-)

            16   these complaints, as well as warranty repair and parts replacement data received by BMW NA

            17   from BMW NA's network of dealers, amongst other sources of internal information.
U,
            18                   Plaintiff is informed, believe, and thereon alleges that while Defendant BMW

            19   NA knew about the Engine Defect, and its safety risks since mid-2008, if not before, BMW NA

            20   nevertheless concealed and failed to disclose the defective nature of the Vehicle and its N63

            21   engine to Plaintiff at the time of sale and thereafter. Had Plaintiff known that the Vehicle

            22   suffered from the Oil Consumption Defect, he would not have purchased the Vehicle.

            23                   indeed, Plaintiff alleges that prior to the sale of the Vehicle to Plaintiff,

            24   Defendant BMW NA knew that the Vehicle and its N63 engine suffered from an inherent

            25   defect, was defective, would fail prematurely, and was not suitable for its intended use.

            26

            27            2 The Oil Consumption Defect was particularly apparent in a recent Consumer Reports study on

                 excessive oil consumption. Consumer Reports studied 498,900 vehicles across several makes and models for
            28   complaints about engine oil consumption and concluded BMW's twin turbocharged engine was included on four
                 out of the five most defective vehicles.


                                          COMPLAINT FOR DAMAGES AND DEMAND FOR Juuv TRIAL
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                          42.       Defendant BMW NA was under a duty to Plaintiffs to disclose the defective

               2   nature of the Vehicle and its N63 engine, its safety consequences and/or the associated repair

               3 I costs because:

               4                       Defendant BMW NA acquired its knowledge of the Oil Consumption Defect

               5                       and its potential consequences prior to Plaintiff acquiring the Vehicle,

               6                       through sources not available to consumers such as Plaintiff, including but

               7                       not limited to pre-production and post-production testing data, early

               8                       consumer complaints about the Oil Consumption Defect made directly to

               9                       BMW NA and its network of dealers, aggregate warranty data compiled from

              10                       BMW NA's network of dealers, testing conducted by BMW NA in response

              11                       to these complaints, as well as warranty repair and part replacements data
En
i 2g 12                                received by BMW NA from its network of dealers, amongst other sources of

              13                       internal information;
p-I
      a   ,
              14                       Defendant BMW NA was in a superior position from various internal sources
(S    -
      ;       15                       to know (or should have known) the true state of facts about the material
o a
  -
- En
cw.           16                       defects contained in vehicles equipped with N63 engine; and
E
                                       Plaintiff could not reasonably have been expected to learn or discover of the
z d 17
              18                       Vehicle's Oil Consumption Defect and its potential consequences until well

              19                       after Plaintiff purchased the Vehicle.

              20                    In failing to disclose the defects in the Vehicle's N63 engine, Defendant BMW

              21   NA knowingly and intentionally concealed material facts and breached its duty not to do so.

              22                    The facts concealed or not disclosed by Defendant BMW NA to Plaintiff is

              23   material in that a reasonable person would have considered them to be important in deciding

              24   whether or not to purchase the Vehicle. Had Plaintiff known that the Vehicle and its N63

              25   engine were defective at the time of sale, he would not have purchased the Vehicle.

              26                    Plaintiff is a reasonable consumer who does not expect his engine to fail and not

              27   work property. Plaintiff further expects and assumes that Defendant BMW NA will not sell or

              28   lease vehicles with known material defects, including but not limited to those involving the

                                                                     9
                                           COMPLAINT FOR DAMAGES AND DEMAND FOR Juas' TRIAl.
Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2469 Page 15 of 97

                                                                             I,




           1   vehicle's N63 engine and will disclose any such defect to its consumers before selling such

           2 I vehicles.

           3           46.    As a result of Defendant BMW NA's misconduct, Plaintiff has suffered and will

           4 I continue to suffer actual damages.

           5                                                PRAYER

           6           PLAINTIFF PRAYS forjudgment against Defendant as follows:

           7                          For Plaintiff's actual damages in an amount according to proof

           8                          For restitution;

           9                          For a civil penalty in the amount of two times Plaintiff's actual damages

          10                          pursuant to Civil Code section 1794, subdivision (c) or (e);

          11                          For any consequential and incidental damages;
U)
c4g       12                          For costs of the suit and Plaintiff's reasonable attorneys' fees pursuant

.    o.   13                          to Civil Code section 1794, subdivision (d);

          14                          For punitive damages;

-z. 15                                For prejudgment interest at the legal rate; and

o U)      16                          For such other relief as the Court may deem proper.

          17
E.
          18                                   DEMAND FOR JURY TRIAL

          19           Plaintiff hereby demands a jury trial on all causes of action asserted herein.

          20

          21 I Dated: October 03, 2017                              STRATEGIC LEGAL PRACTICES
                                                             A PROFESSIONAL CORPORATION
          22
          23                                         BY:.      O.J\IL4t1Ck,
          24                                                  Anna Lisa
                                                              Attorneys for Plaintiff KURT BROADHAG
          25
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                                      COMPLAINT FOR DAMAGES AND DEMAND FOR Juuv TRIAL                             -
       Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2470 Page 16 of 97




                Christine-Haw (SBN 28965!)
                                                                            ELECTRONICALLY FILED
                e-mail: chaw@stpattorney.com                                 Superior Court of California.
            2   Yoon Kim (SBN 292650)                                           County of San Diego

            3   e-mail: ykim@slpattorney.com                                 07114/2017 at 03:02:05 PM
                STRATEGIC LEGAL PRACTICES                                    Clerk of the Superior Court
                A PROFESSIONAL CORPORATION                                  By Laura Melles,Deputy Clerk
            4
                1840 Century Park East, Suite 430
            5   Los Angeles, CA 90067
                Telephone: (310) 929-4900
            6   Facsimile: (310) 943-3838
            7
                Attorneys for Plaintiff IAN MCDONALD
            8

            9
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
           10
                              COUNTY OF SAN DIEGO       -   UNLIMITED JURISDICTION
           II
In
      -    12
                IAN MCDONALD,                                Case Nos.: 37•2017•00025907-CU-BC-CTL
           13
                             Plaintiff,                      Hon.
• °        14                                                Dept.:
cb    .-           VS.
           15
                                                             COMPLAINT FOR VIOLATION OF
o -
- In
Ocn        16   BMW OF NORTH AMERICA, LLC; and               STATUTORY OBLIGATIONS
                DOES 1 through 10, inclusive,
.<
           17
liD                         Defendants.                      JURY TRIAL DEMANDED
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                                            COMPLAINT; JURY TRIAL DEMANDED
      Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2471 Page 17 of 97




           I           Plaintiff alleges as follows:

           2                                              PARTIES
           3           1.     As used in this Complaint, the word "Plaintiff' shall refer to Plaintiff IAN

           4    MCDONALD.

           5           2.     Plaintiff is a resident of San Diego County, California.

           6           3.     Defendant BMW of North America, LLC ("Defendant" or "BMW NA") is a

           7    limited liability company organized and in existence under the laws of the State of Delaware

           8   and registered with the California Department of Corporations to conduct business in

           9    California. At all times relevant herein, Defendant was engaged in the business of designing,

          10    manufacturing, constructing, assembling, marketing, distributing, and selling automobiles and

          11   other motor vehicles and motor vehicle components in Santa Clara County.

          12           4.     Plaintiff is ignorant of the true names and capacities of the Defendants sued

          13   under the fictitious names DOES I to 10. They are sued pursuant to Code of Civil Procedure

      8   14   section 474. When Plaintiff becomes aware of the true names and capacities of the Defendant

          15   sued as DOES I to 10, Plaintiff will amend this Complaint to state their true names and

          16   capacities.
E-'
          17                      TOLLING OF THE STATUTES OF LIMITATIONS
C" '<     18           5.     To the extent there are any statutes of limitation applicable to Plaintiff's

          19   claims—including, without limitation, his express warranty and implied warranty—the

          20   running of the limitation periods have been tolled by equitable tolling, class action tolling

          21   (including, nut not limited to, the Bang v. BMW of North America, LLC (Case No. 2:15-CV-

          22   6945) Complaint, filed September 18, 2015, and First Amended Complaint, filed December 21,

          23   2015, (attached hereto as Exhibit A), the discovery rule, fraudulent concealment rule, repair

          24   rule, and/or equitable estoppel.

          25

          26   //

          27

          28   //



                                            COMPLAINT; JURY TRIAL DEMANDED
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                                                         FIRST CAUSE OF ACTION

          2                                      BY PLAINTIFF AGAINST DEFENDANT

          3                      VIOLATION OF SUBDIVISION (D) OF CIVIL CODE SECTION 1793.2
          4                6.      In or around July 2011, Plaintiff purchased a 2012 BMW 6501 vehicle
          5   I I   identification number WBALZ3C50CDL7 1259, (hereafter "Vehicle") which was

          6         manufactured and or distributed by Defendant. The Vehicle was purchased or used primarily
          7         for personal, family, or household purposes. Plaintiff purchased the Vehicle from a person or

          8         entity engaged in the business of manufacturing, distributing, or selling consumer goods at

          9 Il retail.

         10                 7.     In connection with the purchase, Plaintiff received an express written warranty
         II         in which Defendant undertook to preserve or maintain the utility or performance of the
   zt-


o 2 12              Vehicle or to provide compensation if there is a failure in utility or performance for a
         '3         specified period of time. The warranty provided, in relevant part, that in the event a defect
         14         developed with the Vehicle during the warranty period, Plaintiff could deliver the Vehicle for
         15         repair services to Defendant's representative and the Vehicle would be repaired.
0 cfl
z4
         16                8.      During the warranty period, the Vehicle contained or developed defects,
         17         including but not limited to, defects causing excessive oil consumption; defects related to the
         18         Vehicle's engine; defects causing the Vehicle to be stuck in park; the Vehicle not starting;
         19         motor being seized; engine seized internally; defects necessitating of excessive top-ups/top-
         20         offs of oil between oil-change services; defects causing the premature failure of the engine, oil
         21         coolers, short engine, oil pipe, ISA screws, profile gaskets, exhaust manifolds, cylinder heads,
         22         hex nuts with flanges, 0-rings, gasket rings, screw clams, engine oil coolers, oil cooling pipe
         23         inlets, oil cooling pipe outlets, cleaner, and hose clamps; defects necessitating the premature
         24         replacement of the the engine, oil coolers, short engine, oil pipe, ISA screws, profile gaskets,
         25         exhaust manifolds, cylinder heads, hex nuts with flanges, 0-rings, gasket rings, screw clams,
         26         engine oil coolers, oil cooling pipe inlets, oil cooling pipe outlets, cleaner, hose clamps,
         27         battery, injectors, PCV tubes, intake gaskets, vacuum pump, low PSI fuel line with sensor,
         28         hot-film air mass, gaskets, clams, connecting lines, vent pipes, and high pressure fuel pumps;

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                                                COMPLAINT; JURY TRIAL DEMANDED
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              I    and/or defects related to and all other defects as shown in the Vehicle repair history. Said

              2    defects substantially impair the use, value, or safety of the Vehicle.

              3           9.      Defendant and its representatives in this state have been unable to service or

              4    repair the Vehicle to conform to the applicable express warranties after a reasonable number

              5    of opportunities. Despite this fact, Defendant failed to promptly replace the Vehicle or make

              6    restitution to Plaintiff as required by Civil Code section 1793.2, subdivision (d) and Civil

              7    Code section 1793.1, subdivision (a)(2).

              8           10.     Plaintiff has been damaged by Defendant's failure to comply with its

              9    obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil Code section

             10    1793.1, subdivision (a)(2), and therefore brings this cause of action pursuant to Civil Code

                  section 1794

             12            11.    Plaintiff suffered damages in a sum to be proven at trial in an amount that

         § 13     exceeds $25,000.00.

     8       14           12.    Defendant's failure to comply with its obligations under Civil Code section

             15   1793.2, subdivision (d) was willful, in that Defendant and its representative were aware that
U
             16   they were unable to service or repair the Vehicle to conform to the applicable express
tz

             17   warranties after a reasonable number of repair attempts, yet Defendant failed and refused to

         -   18   promptly replace the Vehicle or make restitution. Accordingly, Plaintiff is entitled to a civil

             19   penalty of two times Plaintiff's actual damages pursuant to Civil Code section 1794,

             20   subdivision (c).

             21           13.    Defendant does not maintain a qualified third-party dispute resolution process

             22   which substantially complies with Civil Code section 1793.22. Accordingly, Plaintiff is

             23   entitled to a civil penalty of two times Plaintiff's actual damages pursuant to Civil Code

             24   section 1794, subdivision (e).

             25           14.    Plaintiff seeks civil penalties pursuant to section 1794, subdivisions (c), and (e)

             26   in the alternative and does not seek to cumulate civil penalties, as provided in Civil Code

             27   section 1794, subdivision (0.

             28   //

                                                                   3
                                               COMPLAINT; JURY TRIAL DEMANDED
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                                                SECOND CAUSE OF ACTION

          2                             BY PLAINTIFF AGAINST DEFENDANT

          3            VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION 1793.2
          4                   Plaintiff incorporates by reference the allegations contained in the paragraphs
          5 II set forth above.

          6                   Although Plaintiff presented the Vehicle to Defendant's representative in this
          7    state, Defendant and its representative failed to commence the service or repairs within a

          8    reasonable time and failed to service or repair the Vehicle so as to conform to the applicable

          9    warranties within 30 days, in violation of Civil Code section 1793.2, subdivision (b). Plaintiff
         10    did not extend the time for completion of repairs beyond the 30-day requirement.
         II                   Plaintiff has been damaged by Defendant's failure to comply with its

o   h    12   obligations pursuant to Civil Code section 1793.2(b), and therefore brings this Cause of
-
         13   Action pursuant to Civil Code section 1794.
         14                  Plaintiff has rightfully rejected and/or justifiably revoked acceptance of the

    z.   15   Vehicle, and has exercised a right to cancel the purchase. By serving this Complaint, Plaintiff
         16   does so again. Accordingly, Plaintiff seeks the remedies provided in California Civil Code
         17   section 1794(b)(1), including the entire contract price. In the alternative, Plaintiff seeks the
         18   remedies set forth in California Civil Code section 1794(b)(2), including the diminution in
         19   value of the Vehicle resulting from its defects. Plaintiff believes that, at the present time, the
         20   Vehicle's value is de rn/n/mis.

         21                  Defendant's failure to comply with their obligations under Civil Code section
         22   1793.2(b) was willful, in that Defendant and its representative were aware that they were
         23   obligated to service or repair the Vehicle to conform to the applicable express warranties
         24   within 30 days, yet they failed to do so. Accordingly, Plaintiff is entitled to a civil penalty of
         25   two times Plaintiff's actual damages pursuant to Civil Code section 1794(c).
         26   1/

         27   /1

         28   1/



                                          COMPLAINT; JURY TRIAL DEMANDED
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                                                   THIRD CAUSE OF ACTION

             2                              BY PLAINTIFF AGAINST DEFENDANT

             3           VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION 1793.2

             4                   Plaintiff incorporates by reference the allegations contained in paragraphs set

             5 I forth above.

             6                   In violation of Civil Code section 1793.2, subdivision (a)(3), Defendant failed

             7    to make available to its authorized service and repair facilities sufficient service literature and

             S    replacement parts to effect repairs during the express warranty period. Plaintiff has been

             9    damaged by Defendant's failure to comply with its obligations pursuant to Civil Code section

            10    1793.2(a)(3), and therefore brings this Cause of Action pursuant to Civil Code section 1794.

            II                   Defendant's failure to comply with its obligations under Civil Code section
      .C.
            '2    1793.2, subdivision (a)(3) was wilful, in that Defendant knew of its obligation to provide
lul
-           13    literature and replacement parts sufficient to allow its repair facilities to effect repairs during

            14    the warranty period, yet Defendant failed to take any action to correct its failure to comply
W
u           15    with the law. Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff's actual

            16    damages; pursuant to Civil Code section 1794(c).

z           17                                   FOURTH CAUSE OF ACTION
            18                             BY PLAINTIFF AGAINST DEFENDANT
            19                        BREACH OF EXPRESS WRITTEN WARRANTY
            20                             (CIV. CODE, § 1791.2, SUBD. (a); § 1794)
            21                   Plaintiff incorporates by reference the allegations contained in paragraphs set
            22 I forth above.

            23                   In accordance with Defendant's warranty, Plaintiff delivered the Vehicle to
            24    Defendant's representative in this state to perform warranty repairs. Plaintiff did so within a

            25    reasonable time. Each time Plaintiff delivered the Vehicle, Plaintiff notified Defendant and its

            jI representative of the characteristics of the Defects. However, the representative failed to
            27    repair the Vehicle, breaching the terms of the written warranty on each occasion.



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                                              COMPLAINT; JURY TRIAL DEMANDED
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          1          25.     Plaintiff has been damaged by Defendant's failure to comply with its

          2   obligations under the express warranty, and therefore brings this Cause of Action pursuant to

          3   Civil Code section 1794.

          4          26.     Defendant's failure to comply with its obligations under the express warranty

          5   was willful, in that Defendant and their authorized representative were aware that they were

          6   obligated to repair the Defects, but they intentionally refused to do so. Accordingly, Plaintiff

          7   is entitled to a civil penalty of two times of Plaintiff's actual damages pursuant to Civil Code

          8   section 1794(c).

          9                                       FIFTH CAUSE OF ACTION
         10                            BY PLAINTIFF AGAINST ALL DEFENDANTS
         11                BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
         12                                      (CIV. CODE, § 1791.1; § 1794)
         13          27.     Plaintiff incorporates by reference the allegations contained in the paragraphs
°        14   set forth above.
0

     .   15          28.     Pursuant to Civil Code section 1792, the sale of the Vehicle was accompanied
oL

         16   by Defendant's implied warranty of merchantability. Pursuant to Civil Code section 1791. 1,

         17   the duration of the implied warranty is coextensive in duration with the duration of the express

'        18   written warranty provided by Defendant, except that the duration is not to exceed one-year.

         19          29.    Pursuant to Civil Code section 1791.1 (a), the implied warranty of

         20   merchantability means and includes that the Vehicle will comply with each of the following

         21   requirements: (I) The Vehicle will pass without objection in the trade under the contract

         22   description; (2) The Vehicle is fit for the ordinary purposes for which such goods are used; (3)

         23   The Vehicle is adequately contained, packaged, and labelled; (4) The Vehicle will conform to

         24   the promises or affirmations of fact made on the container or label.

         25          30.    At the time of purchase, or within one-year thereafter, the Vehicle contained or

         26   developed the defects set forth above. The existence of each of these defects constitutes a

         27   breach of the implied warranty because the Vehicle (1) does not pass without objection in the

         28   trade under the contract description, (2) is not fit for the ordinary purposes for which such


                                                             6
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              goods are used, (3) is not adequately contained, packaged, and labelled, and (4) does not

      2       conform to the promises or affirmations of fact made on the container or label.

      3                         Plaintiff has been damaged by Defendant's failure to comply with its

      4       obligations under the implied warranty, and therefore brings this Cause of Action pursuant to

      5   I   Civil Code section 1794.

      6                                             SIXTH CAUSE OF ACTION

      7                                     BY PLAINTIFF AGAINST DEFENDANT
      S                                                           FRAUD
      9                         Plaintiff purchased the Vehicle as manufactured with Defendant BMW NA's V-

     10       8, twin-turbocharged engine, which BMW and enthusiasts refer to as the "N63."

     II                         Defendant BMW NA committed fraud by allowing the Vehicle to be sold to

t2   12       Plaintiff without disclosing that the Vehicle and its N63 engine was defective and susceptible to

     13       sudden and premature failure.

     14                         In particular, Plaintiff is informed, believe, and thereon alleges that prior to

     15       Plaintiff acquiring the Vehicle, BMW NA was well aware and knew that the N63 engine

     16       installed on the Vehicle was defective but failed to disclose this fact to Plaintiff at the time of

     17       sale and thereafter.'

     IS                         Specifically, BMW NA knew (or should have known) that the twin-turbo

     19       charged engine had one or more defects that causes the subject vehicle to be unable to properly

     20       utilize the engine oil and, in fact, to improperly burn off and/or consume abnormally high

     21       amounts of oil (the "Oil Consumption Defect"). The Oil Consumption Defect decreases the

 1   22       lubrication available to engine parts, which results in premature failure. As a consequence, the

     23       Oil Consumption Defect requires unreasonably frequent oil changes and/or the addition of oil

     24       between scheduled oil changes.2

     25
                       Indeed, Defendant has issued various internal technical bulletins to its dealers (not consumers)
     26
              concerning the Engine Defect.

     27               2
                         The Oil Consumption Defect was particularly apparent in a recent Consumer Reports study on
              excessive oil consumption. Consumer Reports studied 498,900 vehicles across several makes and models for
     28
              complaints about engine oil consumption and concluded BMW's twin turbocharged engine was included on four
              out of the five most defective vehicles.
                                                                      7
                                               COMPLAINT; JURY TRIAL DEMANDED
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                                The Oil Consumption Defect is a safety concern because it prevents the engine

          2    from maintaining the proper level of engine oil, and causes voluminous oil consumption that

          3    cannot be reasonably anticipated or predicted. Therefore, the Oil Consumption Defect is

          4    unreasonably dangerous because it can cause engine failure while the subject vehicle is in

          5    operation at any time and under any driving conditions or speeds, thereby exposing the subject

          6    vehicle's driver, passengers, and others who share the road with them, to serious risk of

          .7   accidents and injury.

          8                     Plaintiff is informed, believes and thereon alleges that Defendant BMW NA

          9    acquired its knowledge of the Oil Consumption Defect prior to Plaintiff acquiring the Vehicle,

         10    though sources not available to consumers such as Plaintiff, including but not limited to pre-

         II    production and post-production testing data, early consumer complaints about the engine defect
  01
0 -c 12        made directly to BMW NA and its network of dealers, aggregate warranty data compiled from
o        13    BMW NA's network of dealers, testing conducted by BMW NA in response to these

         14    complaints, as well as warranty repair and parts replacement data received by BMW NA from
0
         15    BMW NA's network of dealers, amongst other sources of internal information.
0-
- Cl)
00)      16                     Plaintiff is informed, believe, and thereon alleges that white Defendant BMW
.   Or
         17    NA knew about the Engine Defect, and its safety risks since mid-2011, if not before, BMW NA

         18    nevertheless concealed and failed to disclose the defective nature of the Vehicle and its N63

         19    engine to Plaintiff at the time of sale and thereafter. Had Plaintiff known that the Vehicle

         20    suffered from the Oil Consumption Defect, he would not have purchased the Vehicle.

         21                     Indeed, Plaintiff alleges that prior to the sale of the Vehicle to Plaintiff,

         22    Defendant BMW NA knew that the Vehicle and its N63 engine suffered from an inherent

         23    defect, was defective, would fail prematurely, and was not suitable for its intended use.

         24                     Defendant BMW NA was under a duty to Plaintiffs to disclose the defective

         25    nature of the Vehicle and its N63 engine, its safety consequences and/or the associated repair

         26    costs because:

         27                     a. Defendant BMW NA acquired its knowledge of the Oil Consumption Defect

         28                        and its potential consequences prior to Plaintiff acquiring the Vehicle,


                                                                8
                                            COMPLAINT; JURY TRIAL DEMANDED
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                                  through sources not available to consumers such as Plaintiff, including but

         2                        not limited to pre-production and post-production testing data, early

         3                        consumer complaints about the Oil Consumption Defect made directly to
         4                        BMW NA and its network of dealers, aggregate warranty data compiled from

         5                        BMW NA's network of dealers, testing conducted by BMW NA in response

         6                        to these complaints, as well as warranty repair and part replacements data

         7                        received by BMW NA from its network of dealers, amongst other sources of
         8                        internal information;

         9                        Defendant BMW NA was in a superior position from various internal sources
        10                        to know (or should have known) the true state of facts about the material
        11                       defects contained in vehicles equipped with N63 engine; and

o E.    12                        Plaintiff could not reasonably have been expected to learn or discover of the
        13                        Vehicle's Oil Consumption Defect and its potential consequences until well
        14                       after Plaintiff purchased the Vehicle.

        15                    In failing to disclose the defects in the Vehicle's N63 engine, Defendant BMW
o       16     NA has knowingly and intentionally concealed material facts and breached its duty not to do so.
E.
z z 0 17                      The facts concealed or not disclosed by Defendant BMW NA to Plaintiff is
        18     material in that a reasonable person would have considered them to be important in deciding
        19     whether or not to purchase the Vehicle. Had Plaintiff known that the Vehicle and its N63
        20     engine were defective at the time of sale, he would not have purchased the Vehicle.

        21                    Plaintiff is a reasonable consumer who does not expect his engine to fail and not
        22     work properly. Plaintiff further expects and assumes that Defendant BMW NA will not sell or
        23     lease vehicles with known material defects, including but not limited to those involving the
        24     vehicle's .N63 engine and will disclose any such defect to its consumers before selling such
        25   I vehicles.
        26                    As a result of Defendant BMW NA's misconduct, Plaintiff has suffered and will
        27     continue to suffer actual damages.

        28

                                                               9
                                           COMPLAINT; JURY TRIAL DEMANDED
     /
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                                                 SEVENTH CAUSE OF ACTION

          2                                 BY PLAINTIFF AGAINST DEFENDANT

          3                      VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
          4                   Plaintiff incorporates by reference the allegations contained in the paragraphs
          5   set forth above.

          6                   Plaintiff is a "consumer" as defined in the Magnuson-Moss Warranty Act

          7   (referred to as "Mag-Moss"), 15 U.S.C. § 2301(3).

          8                   Defendant is a "supplier" and "warrantor" as defined in the Mag-Moss Act, 15
     /

          9   U.S.C. § 2301(4), 15 U.S.C. § 2301(5).

         10                  The Vehicle is a "consumer product" as defined in the Mag-Moss Act, 15
         II   U.S.C. § 2301(1).

-'       12                  In addition to the express warranty, in connection with the sale of the Vehicle
•c O     13   to Plaintiff, an implied warranty of merchantability was created under California law. The
         14   Vehicle's implied warranties were not disclaimed using a Buyer's Guide displayed on the
         '5   Vehicle; thus any purported disclaimers were ineffective pursuant to IS U.S.C. § 2308(c).
o        16                  Defendant violated the Mag-Moss Act when it breached the express warranty
     Q
         17   and implied warranties by failing to repair the defects and nonconformities, or to replace the
         18   Vehicle.
     /
         19                  Plaintiff has also met all of Plaintiff's obligations and preconditions to bring
         20   this claim, or alternatively it would have been futile for Plaintiff to do so.
         21                  In addition, Plaintiff has met all of Plaintiff's obligations for bringing this
         22   claim as provided in the written warranties, or alternatively, Defendant does not maintain an
         23   informal dispute resolution process for the purpose of resolving claims for breach of the
         24   implied warranty of merchantability, and does not maintain an informal dispute resolution
         25   process for resolving express warranty claims that complies with the requirements of 15
         26   U.S.C. § 23 10(a) and the rules and regulations adopted pursuant thereto by the Federal Trade

         27   Commission.

         28



                                           COMPLAINT; JURY TRIAL DEMANDED
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         1           53.    As a direct and proximate result of the acts and omissions of the Defendant,
         2   Plaintiff has been damaged in the form of general, special and actual damages in an amount

         3   within the jurisdiction of this Court, according to proof at trial.
         4
                    54.     Under the Act, Plaintiff is entitled to reimbursement of the entire amount paid
         5   or payable.

         6          55.     Plaintiff is entitled to all incidental, consequential, penalties, and general

         7   damages resulting from Defendant's failure to comply with their obligations under the Mag-

         S   Moss Act.

         9          56.     Plaintiff has been damaged by Defendant's failure to comply with its

        10   obligations under the express warranty, implied warranty, as well as any other violations
        11   alleged here, and therefore brings this claim pursuant to IS U.S.C. §2310(d) and seeks
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        12   remedies available pursuant to Magnuson-Moss Act under California law, including

        13   California Civil Code Section 1794 and/or California Commercial Code Sections 2711-2715,

    8   14   and/or other remedies that the Court may deem proper.

        15          57.     Plaintiff is entitled under the Mag-Moss Act to recover as part of the judgment
        16   a sum equal to the aggregate amount of costs and expenses, including attorney's fees,
        17   reasonably incurred in connection with the commencement and prosecution of this action
        18   pursuant to IS U.S.C. § 2310(d)(2).

        19

        20                                              PRAYER
        21          PLAINTIFF PRAYS forjudgment against Defendant as follows:
        22                      a. For Plaintiff's actual damages in an amount according to proof;

        23                      b. For restitution;

        24                      c. For a civil penalty in the amount of two times Plaintiff's actual damages

        25                          pursuant to Civil Code section 1794, subdivision (c) or (e);
        26                      d. For any consequential and incidental damages;
        27                      e. For costs of the suit and Plaintiff's reasonable attorneys' fees pursuant

        28                         to Civil Code section 1794, subdivision (d);

                                                              II
                                          COMPLAINT; JURY TRIAL DEMANDED
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                                                                                               -




                                   .   For punitive damages;

           2                           For prejudgment interest at the legal rate; and

           3                           For such other relief as the Court may deem proper.

           4

           5                                    DEMAND FOR JURY TRIAL

           6          Plaintiff hereby demands a jury trial on all causes of action asserted herein.
           7

           8   Dated: July 14, 2017                          STRATEGIC LEGAL PRACTICES
                                                             A PROFESSIONAL CORPORATION
           9

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    Z..                                               BY:
          12                                                   çYOO1,(KIM, Attorney for Plaintiff
0                                                               MWMCDONALD
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                                            COMPLAINT; JURY TRIAL DEMANDED
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                                                                                         1   Christine Haw (SBN 289651)
                                                                                         2
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                                                                                         4   STRATEGIC LEGAL PRACTICES
                                                                                             A PROFESSIONAL CORPORATION
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                                                                                         8
                                                                                             Attorneys for Plaintiff KWON CHAE YI
                                                                                         9
                                                                                        10
                                                                                                          UNITED STATES DISTRICT COURT FOR THE
                                                                                        11
A PROFESSIONAL CORPORATION




                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                             1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067
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                                                                                             KWON CHAE YI,                          Docket No.:
                                                                                        14

                                                                                        15              Plaintiff,                  COMPLAINT FOR VIOLATION
                                                                                                                                    OF STATUTORY OBLIGATIONS
                                                                                        16      vs.
                                                                                        17
                                                                                             BMW OF NORTH AMERICA, LLC;             JURY TRIAL DEMANDED
                                                                                        18   and DOES 1 through 10, inclusive,
                                                                                        19
                                                                                                         Defendants.
                                                                                        20

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                                                                                                                     COMPLAINT; JURY TRIAL DEMANDED
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                                                                                         1         Plaintiff alleges as follows:
                                                                                         2                            JURISDICTION AND VENUE
                                                                                         3         1.     The Court possesses federal question subject matter jurisdiction over
                                                                                         4   this action pursuant to 28 USC § 1331 for the claim arising under the Magnuson-
                                                                                         5                                             -       ), 15 U.S.C. § 2301, et seq. This
                                                                                         6   Court also possesses subject matter jurisdiction over this action pursuant to 28
                                                                                         7   U.S.C. §§ 1332(a)(1) because the matter in controversy exceeds the sum or value
                                                                                         8   of $75,000.00, exclusive of interest and costs and Plaintiff and all Defendants are
                                                                                         9   citizens of different states. This Court also possesses subject matter jurisdiction
                                                                                        10   over this action pursuant to 28 U.S.C. § 1367(a).
                                                                                        11         2.     Venue is proper in this district under 28 U.S.C. § 1391 because
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                                                                                        12   Defendant resides in and continuously conducts business in this district. Venue is
                                                                                        13   also proper in this district under 28 U.S.C. § 1391 because a substantial part of the
                                                                                        14   events or omissions giving rise to the claims occurred in this district.
                                                                                        15                                         PARTIES
                                                                                        16         3.     As used in this Complaint, the word Plaintiff shall refer to
                                                                                        17   Plaintiff KWON CHAE YI.
                                                                                        18         4.     At the time of the filing of this Complaint, Plaintiff is a resident of
                                                                                        19   the State of California and is domiciled in the County of Los Angeles.
                                                                                        20         5.     As used in this Complaint, the word Defendants shall refer
                                                                                        21   collectively to all Defendants named in this Complaint, while the term
                                                                                        22               BMW                                BMW OF NORTH AMERICA,
                                                                                        23   LLC only.
                                                                                        24         6.     At the time of the filing of this Complaint, Defendant BMW OF
                                                                                        25   NORTH AMERICA, LLC is a single-member limited liability company, and its
                                                                                        26   single member is BMW US Holding Corporation. Both are organized and in
                                                                                        27   existence under the laws of the State of Delaware and have their principal place
                                                                                        28   of business in the State of New Jersey. Defendant BMW OF NORTH

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                                                                                                                      COMPLAINT; JURY TRIAL DEMANDED
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                                                                                         1   AMERICA, LLC is registered with the California Department of Corporations to
                                                                                         2   conduct business in California. At all times relevant herein, Defendant was
                                                                                         3   engaged in the business of designing, manufacturing, constructing, assembling,
                                                                                         4   marketing, distributing, and selling automobiles and other motor vehicles and
                                                                                         5   motor vehicle components in Los Angeles County.
                                                                                         6         7.      Plaintiff is ignorant of the true names and capacities of the
                                                                                         7   Defendants sued under the fictitious names DOES 1 to 10. They are sued
                                                                                         8   pursuant to Code of Civil Procedure section 474. When Plaintiff becomes aware
                                                                                         9   of the true names and capacities of the Defendants sued as DOES 1 to 10,
                                                                                        10   Plaintiff will amend this Complaint to state their true names and capacities.
                                                                                        11                TOLLING OF THE STATUTES OF LIMITATIONS
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                                                                                        12         8.      To the extent there are any statutes of limitation applicable to
                                                                                        13                        including, without limitation, his express warranty and
                                                                                        14   implied warranty     the running of the limitation periods have been tolled by
                                                                                        15   equitable tolling, class action tolling (including, nut not limited to, the Bang v.
                                                                                        16   BMW of North America, LLC (Case No. 2:15-CV-6945) Complaint, filed
                                                                                        17   September 18, 2015, and First Amended Complaint, filed December 21, 2015,
                                                                                        18   (attached hereto as Exhibit A), the discovery rule, fraudulent concealment rule,
                                                                                        19   repair rule, and/or equitable estoppel.
                                                                                        20                                 FIRST CAUSE OF ACTION
                                                                                        21                         BY PLAINTIFF AGAINST DEFENDANTS
                                                                                        22              VIOLATION OF SUBDIVISION (D) OF CIVIL CODE SECTION
                                                                                        23                                          1793.2
                                                                                        24        9.       In or around December 2009, Plaintiff leased (and thereafter
                                                                                        25   purchased) a 2009 BMW 750Li vehicle identification number
                                                                                        26   WBAKB83519CY61799, (hereafter Vehicle ) which was manufactured and or
                                                                                        27   distributed by Defendants. The Vehicle was leased or used primarily for
                                                                                        28   personal, family, or household purposes. Plaintiff leased the Vehicle from a

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                                                                                         1   person or entity engaged in the business of manufacturing, distributing, or selling
                                                                                         2   consumer goods at retail.
                                                                                         3         10.     In connection with the lease and/or purchase, Plaintiff received an
                                                                                         4   express written warranty in which Defendants undertook to preserve or maintain
                                                                                         5   the utility or performance of the Vehicle or to provide compensation if there is a
                                                                                         6   failure in utility or performance for a specified period of time. The warranty
                                                                                         7   provided, in relevant part, that in the event a defect developed with the Vehicle
                                                                                         8   during the warranty period, Plaintiff could deliver the Vehicle for repair services
                                                                                         9   to Defendants representative and the Vehicle would be repaired.
                                                                                        10         11.     During the warranty period, the Vehicle contained or developed
                                                                                        11   defects, including but not limited to, defects causing excessive oil consumption;
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                                                                                        13   turbocharger;                                                   defects related to
                                                                                        14                             oners; defects causing oil leaks; defects causing vacuum
                                                                                        15   pump to leak oil; defects with the engine vacuum pump; defects with the
                                                                                        16                   sensor;                            rubber fuel lines; defects with
                                                                                        17                                  ; defects causing illumination of the check engine
                                                                                        18   light; defects causing illumination of the service engine soon light; defects
                                                                                        19   causing abnormal noises, such as: rubbery squeaking noises, whining noises,
                                                                                        20   rattling noises, etc.; defects causing vibrations at freeway speeds; defects
                                                                                        21   necessitating excessive oil top-ups between oil services; defects related to faulty
                                                                                        22   turbocharger auxiliary water pumps; defects related to faulty turbocharger
                                                                                        23   coolant pumps; defects causing the Vehicle to run rough, run heavy, and/or
                                                                                        24   sound rough
                                                                                        25   causing low oil levels; defects causing the steering to wobble and/or feel loose;
                                                                                        26   defects necessitating excessive alignments; defects causing oil to leak from the
                                                                                        27   turbochargers; defects necessitating the premature replacement of valve guides;
                                                                                        28   defects causing excessive and premature wear of all valve guides; defects

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                                                                                         1   causing the valve guides leaking oil into the cylinders; defects causing excessive
                                                                                         2   overfueling; defects causing reduced power; defects causing the engine fan to
                                                                                         3   continue to run 30 minutes after the Vehicle has been turned off; defects
                                                                                         4   necessitating the replacement of the N63 timing chains; defects necessitating the
                                                                                         5   replacement of the basic scope; defects necessitating the replacement of the
                                                                                         6   transmission; defects causing the illumination of the transmission malfunction
                                                                                         7   light; defects related to the seatbelts; defects causing the seatbelts to make
                                                                                         8   abnormal noises; defects necessitating the replacement of the seatbelt assembly;
                                                                                         9   defects causing the Vehicle to crank too long before starting; defects making it
                                                                                        10   hard to start the Vehicle; defects causing the illumination of the low coolant
                                                                                        11   light; defects causing the illumination of the engine hot warning light; defects
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                                                                                        12   causing cylinders to misfire; defects causing the illumination of the engine
                                                                                        13   malfunction reduced power light; defects causing cracks in the crankcase vent
                                                                                        14   tube; defects causing the crankcase vent tube to leak; defects related to faulty
                                                                                        15   crankcase vent tubes; defects necessitating the premature replacement of the
                                                                                        16   crankcase vent tubes; defects causing the Vehicle to shake; defects causing
                                                                                        17   defects related to faulty fuel injectors; defects related to faulty cylinders; defects
                                                                                        18   related to faulty spark plugs; defects related to faulty crank case vent tubes;
                                                                                        19   defects related to faulty auxiliary coolant pumps; defects related to faulty
                                                                                        20   auxiliary water pumps; defects related to faulty water pumps; and/or defects
                                                                                        21   related to and all other defects as shown in the Vehicle repair history. Said
                                                                                        22   defects substantially impair the use, value, or safety of the Vehicle.
                                                                                        23         12.    Defendants and their representatives in this state have been unable
                                                                                        24   to service or repair the Vehicle to conform to the applicable express warranties
                                                                                        25   after a reasonable number of opportunities. Despite this fact, Defendants failed
                                                                                        26   to promptly replace the Vehicle or make restitution to Plaintiff as required by
                                                                                        27   Civil Code section 1793.2, subdivision (d) and Civil Code section 1793.1,
                                                                                        28   subdivision (a)(2).

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                                                                                                                      COMPLAINT; JURY TRIAL DEMANDED
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                                                                                         1         13.    Plaintiff has been damaged by Defendants failure to comply with
                                                                                         2   its obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil
                                                                                         3   Code section 1793.1, subdivision (a)(2), and therefore brings this cause of action
                                                                                         4   pursuant to Civil Code section 1794.
                                                                                         5          14. Plaintiff suffered damages in a sum to be proven at trial in an
                                                                                         6   amount that exceeds $25,000.00.
                                                                                         7         15.    Defendants failure to comply with its obligations under Civil Code
                                                                                         8   section 1793.2, subdivision (d) was willful, in that Defendants and their
                                                                                         9   representative were aware that they were unable to service or repair the Vehicle
                                                                                        10   to conform to the applicable express warranties after a reasonable number of
                                                                                        11   repair attempts, yet Defendants failed and refused to promptly replace the
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                                                                                        12   Vehicle or make restitution. Accordingly, Plaintiff is entitled to a civil penalty
                                                                                        13   of two times Plaintiff s actual damages pursuant to Civil Code section 1794,
                                                                                        14   subdivision (c).
                                                                                        15         16.    Defendants do not maintain a qualified third-party dispute resolution
                                                                                        16   process which substantially complies with Civil Code section 1793.22.
                                                                                        17   Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff s actual
                                                                                        18   damages pursuant to Civil Code section 1794, subdivision (e).
                                                                                        19         17.    Plaintiff seeks civil penalties pursuant to section 1794, subdivisions
                                                                                        20   (c), and (e) in the alternative and does not seek to cumulate civil penalties, as
                                                                                        21   provided in Civil Code section 1794, subdivision (f).
                                                                                        22                            SECOND CAUSE OF ACTION
                                                                                        23                      BY PLAINTIFF AGAINST DEFENDANTS
                                                                                        24    VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION 1793.2
                                                                                        25         18.    Plaintiff incorporates by reference the allegations contained in the
                                                                                        26   paragraphs set forth above.
                                                                                        27         19.    Although Plaintiff presented the Vehicle to Defendants
                                                                                        28   representative in this state, Defendants and their representative failed to

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                                                                                                                      COMPLAINT; JURY TRIAL DEMANDED
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                                                                                         1   commence the service or repairs within a reasonable time and failed to service or
                                                                                         2   repair the Vehicle so as to conform to the applicable warranties within 30 days,
                                                                                         3   in violation of Civil Code section 1793.2, subdivision (b). Plaintiff did not
                                                                                         4   extend the time for completion of repairs beyond the 30-day requirement.
                                                                                         5         20.    Plaintiff has been damaged by Defendants failure to comply with
                                                                                         6   its obligations pursuant to Civil Code section 1793.2(b), and therefore brings this
                                                                                         7   Cause of Action pursuant to Civil Code section 1794.
                                                                                         8         21.    Plaintiff has rightfully rejected and/or justifiably revoked acceptance
                                                                                         9   of the Vehicle, and has exercised a right to cancel the purchase. By serving this
                                                                                        10   Complaint, Plaintiff does so again. Accordingly, Plaintiff seeks the remedies
                                                                                        11   provided in California Civil Code section 1794(b)(1), including the entire
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                                                                                        12   contract price. In the alternative, Plaintiff seeks the remedies set forth in
                                                                                        13   California Civil Code section 1794(b)(2), including the diminution in value of
                                                                                        14   the Vehicle resulting from its defects. Plaintiff believes that, at the present time,
                                                                                        15   the Vehicle s value is de minimis.
                                                                                        16         22.    Defendants failure to comply with their obligations under Civil
                                                                                        17   Code section 1793.2(b) was willful, in that Defendants and their representative
                                                                                        18   were aware that they were obligated to service or repair the Vehicle to conform
                                                                                        19   to the applicable express warranties within 30 days, yet they failed to do so.
                                                                                        20   Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff s actual
                                                                                        21   damages pursuant to Civil Code section 1794(c).
                                                                                        22                             THIRD CAUSE OF ACTION
                                                                                        23                     BY PLAINTIFF AGAINST DEFENDANTS
                                                                                        24      VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION
                                                                                        25                                          1793.2
                                                                                        26         23.    Plaintiff incorporates by reference the allegations contained in
                                                                                        27   paragraphs set forth above.
                                                                                        28

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                                                                                                                      COMPLAINT; JURY TRIAL DEMANDED
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                                                                                         1         24.    In violation of Civil Code section 1793.2, subdivision (a)(3),
                                                                                         2   Defendants failed to make available to its authorized service and repair facilities
                                                                                         3   sufficient service literature and replacement parts to effect repairs during the
                                                                                         4   express warranty period. Plaintiff has been damaged by Defendants failure to
                                                                                         5   comply with its obligations pursuant to Civil Code section 1793.2(a)(3), and
                                                                                         6   therefore brings this Cause of Action pursuant to Civil Code section 1794.
                                                                                         7         25.    Defendants failure to comply with its obligations under Civil Code
                                                                                         8   section 1793.2, subdivision (a)(3) was wilful, in that Defendants knew of its
                                                                                         9   obligation to provide literature and replacement parts sufficient to allow its
                                                                                        10   repair facilities to effect repairs during the warranty period, yet Defendants failed
                                                                                        11   to take any action to correct its failure to comply with the law. Accordingly,
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                                                                                        12   Plaintiff is entitled to a civil penalty of two times Plaintiff s actual damages;
                                                                                        13   pursuant to Civil Code section 1794(c).
                                                                                        14                           FOURTH CAUSE OF ACTION
                                                                                        15                     BY PLAINTIFF AGAINST DEFENDANTS
                                                                                        16                 BREACH OF EXPRESS WRITTEN WARRANTY
                                                                                        17                      (CIV. CODE, § 1791.2, SUBD. (a); § 1794)
                                                                                        18         26.    Plaintiff incorporates by reference the allegations contained in
                                                                                        19   paragraphs set forth above.
                                                                                        20         27.    In accordance with Defendants warranty, Plaintiff delivered the
                                                                                        21   Vehicle to Defendants representative in this state to perform warranty repairs.
                                                                                        22   Plaintiff did so within a reasonable time. Each time Plaintiff delivered the
                                                                                        23   Vehicle, Plaintiff notified Defendants and their representative of the
                                                                                        24   characteristics of the Defects. However, the representative failed to repair the
                                                                                        25   Vehicle, breaching the terms of the written warranty on each occasion.
                                                                                        26         28.    Plaintiff has been damaged by Defendants failure to comply with
                                                                                        27   its obligations under the express warranty, and therefore brings this Cause of
                                                                                        28   Action pursuant to Civil Code section 1794.

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                                                                                         1         29.    Defendants failure to comply with its obligations under the express
                                                                                         2   warranty was willful, in that Defendants and their authorized representative were
                                                                                         3   aware that they were obligated to repair the Defects, but they intentionally
                                                                                         4   refused to do so. Accordingly, Plaintiff is entitled to a civil penalty of two times
                                                                                         5   of Plaintiff s actual damages pursuant to Civil Code section 1794(c).
                                                                                         6                                 FIFTH CAUSE OF ACTION
                                                                                         7                     BY PLAINTIFF AGAINST ALL DEFENDANTS
                                                                                         8                     BREACH OF THE IMPLIED WARRANTY OF
                                                                                         9                                 MERCHANTABILITY
                                                                                        10                            (CIV. CODE, § 1791.1; § 1794)
                                                                                        11         30.    Plaintiff incorporates by reference the allegations contained in the
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                                                                                        12   paragraphs set forth above.
                                                                                        13         31.    Pursuant to Civil Code section 1792, the sale of the Vehicle was
                                                                                        14   accompanied by Defendants implied warranty of merchantability. Pursuant to
                                                                                        15   Civil Code section 1791.1, the duration of the implied warranty is coextensive in
                                                                                        16   duration with the duration of the express written warranty provided by
                                                                                        17   Defendants, except that the duration is not to exceed one-year.
                                                                                        18         32.    Pursuant to Civil Code section 1791.1 (a), the implied warranty of
                                                                                        19   merchantability means and includes that the Vehicle will comply with each of
                                                                                        20   the following requirements: (1) The Vehicle will pass without objection in the
                                                                                        21   trade under the contract description; (2) The Vehicle is fit for the ordinary
                                                                                        22   purposes for which such goods are used; (3) The Vehicle is adequately
                                                                                        23   contained, packaged, and labelled; (4) The Vehicle will conform to the promises
                                                                                        24   or affirmations of fact made on the container or label.
                                                                                        25         33.    At the time of purchase, or within one-year thereafter, the Vehicle
                                                                                        26   contained or developed the defects set forth above. The existence of each of
                                                                                        27   these defects constitutes a breach of the implied warranty because the Vehicle
                                                                                        28   (1) does not pass without objection in the trade under the contract description,

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                                                                                         1   (2) is not fit for the ordinary purposes for which such goods are used, (3) is not
                                                                                         2   adequately contained, packaged, and labelled, and (4) does not conform to the
                                                                                         3   promises or affirmations of fact made on the container or label.
                                                                                         4           34.      Plaintiff has been damaged by Defendant                      failure to comply with
                                                                                         5   its obligations under the implied warranty, and therefore brings this Cause of
                                                                                         6   Action pursuant to Civil Code section 1794.
                                                                                         7                                     SIXTH CAUSE OF ACTION
                                                                                         8    BY PLAINTIFF AGAINST DEFENDANT BMW OF NORTH AMERICA,
                                                                                         9                                                  LLC ONLY
                                                                                        10                                                      (Fraud)
                                                                                        11           35.      Plaintiff hereby incorporates by reference the allegations contained in
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                                                                                        12   the preceding paragraphs of this Complaint.
                                                                                        13           36.                                                                                           BMW.
                                                                                        14           37.      Plaintiff leased and purchased the Vehicle as manufactured with
                                                                                        15   Defendant BMW V-8, twin-turbocharged engine, which BMW and enthusiasts
                                                                                        16   refer to as the
                                                                                        17           38.      Defendant BMW committed fraud by allowing the Vehicle to be sold
                                                                                        18   to Plaintiff without disclosing that the Vehicle and its N63 engine was defective
                                                                                        19   and susceptible to sudden and premature failure.
                                                                                        20           39.      In particular, Plaintiff is informed, believe, and thereon alleges that
                                                                                        21   prior to Plaintiff acquiring the Vehicle, BMW was well aware and knew that the
                                                                                        22   N63 engine installed on the Vehicle was defective but failed to disclose this fact to
                                                                                        23   Plaintiff at the time of lease and sale and thereafter.1
                                                                                        24           40.      Specifically, BMW knew (or should have known) that the twin-turbo
                                                                                        25   charged engine had one or more defects that causes the subject vehicle to be
                                                                                        26   unable to properly utilize the engine oil and, in fact, to improperly burn off and/or
                                                                                        27

                                                                                        28           1
                                                                                                      Indeed, Defendant has issued various internal technical bulletins to its dealers (not consumers)
                                                                                             concerning the Engine Defect.
                                                                                                                                                    9
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                                                                                         1   consume abnormally high amounts of oil (
                                                                                         2   Oil Consumption Defect decreases the lubrication available to engine parts, which
                                                                                         3   results in premature failure. As a consequence, the Oil Consumption Defect
                                                                                         4   requires unreasonably frequent oil changes and/or the addition of oil between
                                                                                         5   scheduled oil changes.2
                                                                                         6            41.      The Oil Consumption Defect is a safety concern because it prevents
                                                                                         7   the engine from maintaining the proper level of engine oil, and causes voluminous
                                                                                         8   oil consumption that cannot be reasonably anticipated or predicted. Therefore, the
                                                                                         9   Oil Consumption Defect is unreasonably dangerous because it can cause engine
                                                                                        10   failure while the subject vehicle is in operation at any time and under any driving
                                                                                        11                                                                                                    ers,
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                                                                                        12   and others who share the road with them, to serious risk of accidents and injury.
                                                                                        13            42.      Plaintiff is informed, believes and thereon alleges that Defendant
                                                                                        14   BMW acquired its knowledge of the Oil Consumption Defect prior to Plaintiff
                                                                                        15   acquiring the Vehicle, though sources not available to consumers such as Plaintiff,
                                                                                        16   including but not limited to pre-production and post-production testing data, early
                                                                                        17   consumer complaints about the engine defect made directly to BMW and its
                                                                                        18   network of dealers, aggregate warranty data compiled from BMW
                                                                                        19   dealers, testing conducted by BMW in response to these complaints, as well as
                                                                                        20   warranty repair and parts replacement data received by BMW from BMW
                                                                                        21   network of dealers, amongst other sources of internal information.
                                                                                        22            43.      Plaintiff is informed, believe, and thereon alleges that while
                                                                                        23   Defendant BMW knew about the Engine Defect, and its safety risks since mid-
                                                                                        24   2008, if not before, BMW nevertheless concealed and failed to disclose the
                                                                                        25   defective nature of the Vehicle and its N63 engine to Plaintiff at the time of lease
                                                                                        26

                                                                                        27            2
                                                                                                       The Oil Consumption Defect was particularly apparent in a recent Consumer Reports study on
                                                                                             excessive oil consumption. Consumer Reports studied 498,900 vehicles across several makes and models for
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                                                                                             out of the five most defective vehicles.
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                                                                                         1   and/or sale and thereafter. Had Plaintiff known that the Vehicle suffered from the
                                                                                         2   Oil Consumption Defect, he would not have leased and/or purchased the Vehicle.
                                                                                         3         44.    Indeed, Plaintiff alleges that prior to the lease and/or sale of the
                                                                                         4   Vehicle to Plaintiff, Defendant BMW knew that the Vehicle and its N63 engine
                                                                                         5   suffered from an inherent defect, was defective, would fail prematurely, and was
                                                                                         6   not suitable for its intended use.
                                                                                         7         45.    Defendant BMW was under a duty to Plaintiffs to disclose the
                                                                                         8   defective nature of the Vehicle and its N63 engine, its safety consequences and/or
                                                                                         9   the associated repair costs because:
                                                                                        10                a. Defendant BMW acquired its knowledge of the Oil Consumption
                                                                                        11                    Defect and its potential consequences prior to Plaintiff acquiring
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                                                                                        12                    the Vehicle, through sources not available to consumers such as
                                                                                        13                    Plaintiff, including but not limited to pre-production and post-
                                                                                        14                    production testing data, early consumer complaints about the Oil
                                                                                        15                    Consumption Defect made directly to BMW and its network of
                                                                                        16                    dealers, aggregate warranty data compiled from BMW
                                                                                        17                    of dealers, testing conducted by BMW in response to these
                                                                                        18                    complaints, as well as warranty repair and part replacements data
                                                                                        19                    received by BMW from its network of dealers, amongst other
                                                                                        20                    sources of internal information;
                                                                                        21                b. Defendant BMW was in a superior position from various internal
                                                                                        22                    sources to know (or should have known) the true state of facts
                                                                                        23                    about the material defects contained in vehicles equipped with
                                                                                        24                    N63 engine; and
                                                                                        25                c. Plaintiff could not reasonably have been expected to learn or
                                                                                        26

                                                                                        27                    potential consequences until well after Plaintiff leased and/or
                                                                                        28                    purchased the Vehicle.

                                                                                                                                       11
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                                                                                         1         46.                                                      N63 engine,
                                                                                         2   Defendant BMW has knowingly and intentionally concealed material facts and
                                                                                         3   breached its duty not to do so.
                                                                                         4         47.    The facts concealed or not disclosed by Defendant BMW to Plaintiff
                                                                                         5   is material in that a reasonable person would have considered them to be
                                                                                         6   important in deciding whether or not to lease and/or purchase the Vehicle. Had
                                                                                         7   Plaintiff known that the Vehicle and its N63 engine were defective at the time of
                                                                                         8   lease and/or sale, he would not have leased and/or purchased the Vehicle.
                                                                                         9         48.    Plaintiff is a reasonable consumer who does not expect his engine to
                                                                                        10   fail and not work properly. Plaintiff further expects and assumes that Defendant
                                                                                        11   BMW will not sell or lease vehicles with known material defects, including but
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                                                                                        12                                                 N63 engine and will disclose any such
                                                                                        13   defect to its consumers before selling such vehicles.
                                                                                        14         49.    As a result of Defendant BMW
                                                                                        15   and will continue to suffer actual damages.
                                                                                        16                           SEVENTH CAUSE OF ACTION
                                                                                        17   BY PLAINTIFF AGAINST DEFENDANT BMW OF NORTH AMERICA,
                                                                                        18                                      LLC ONLY
                                                                                        19              VIOLATION OF CONSUMER LEGAL REMEDIES ACT
                                                                                        20                              (CIV. CODE §§ 1750 et seq.)
                                                                                        21         50.    Plaintiff hereby incorporates by reference the allegations contained in
                                                                                        22   the preceding paragraphs of this Complaint.
                                                                                        23         51.
                                                                                        24   BMW.
                                                                                        25         52.
                                                                                        26   1761(c).
                                                                                        27         53.
                                                                                        28   § 1761(d).

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                                                                                         1            54.      In or around December 2009, Plaintiff leased (and thereafter
                                                                                         2   purchased) the Vehicle as manufactur
                                                                                         3            55.      Defendant violated the California Consumer Legal Remedies Act
                                                                                         4

                                                                                         5   knowingly warranting and allowing to be sold to Plaintiff the Vehicle without
                                                                                         6   disclosing that the subject vehicle and its engine was defective and susceptible to
                                                                                         7   sudden and premature failure.
                                                                                         8            56.      In particular, Plaintiff is informed, believes, and thereon alleges that
                                                                                         9   prior to Plaintiff acquiring the subject vehicle, BMW was well aware and knew
                                                                                        10   that the twin-turbo charged engine installed on the subject vehicle was defective
                                                                                        11   but failed to disclose this fact to Plaintiff at the time of lease and thereafter.3
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                                                                                        12            57.      Specifically, BMW knew (or should have known) that the twin-turbo
                                                                                        13   charged engine had one or more defects that causes the subject vehicle to be
                                                                                        14   unable to properly utilize the engine oil and, in fact, to improperly burn off and/or
                                                                                        15

                                                                                        16   Oil Consumption Defect decreases the lubrication available to engine parts, which
                                                                                        17   results in premature failure. As a consequence, the Oil Consumption Defect
                                                                                        18   requires unreasonably frequent oil changes and/or the addition of oil between
                                                                                        19   scheduled oil changes.4
                                                                                        20            58.      The Oil Consumption Defect is a safety concern because it prevents
                                                                                        21   the engine from maintaining the proper level of engine oil, and causes voluminous
                                                                                        22   oil consumption that cannot be reasonably anticipated or predicted. Therefore, the
                                                                                        23   Oil Consumption Defect is unreasonably dangerous because it can cause engine
                                                                                        24

                                                                                        25            3
                                                                                                       Indeed, Defendant has issued various technical bulletins to its dealers (not consumers) concerning the
                                                                                             defective twin-turbo charged engine, including numerous bulletins intended to address the Oil Consumption
                                                                                        26   Defect.
                                                                                        27            4
                                                                                                       The Oil Consumption Defect was particularly apparent in a recent Consumer Rep orts study on
                                                                                             excessive oil consumption. Consumer Reports studied 498,900 vehicles across several makes and models for
                                                                                        28
                                                                                             out of the five most defective vehicles.
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                                                                                         1   failure while the subject vehicle is in operation at any time and under any driving
                                                                                         2

                                                                                         3   and others who share the road with them, to serious risk of accidents and injury.
                                                                                         4         59.    Plaintiff is informed, believes and thereon alleges that BMW
                                                                                         5   acquired its knowledge of the Oil Consumption Defect prior to Plaintiff acquiring
                                                                                         6   the subject vehicle, though sources not available to consumers such as Plaintiff,
                                                                                         7   including but not limited to pre-production and post-production testing data, early
                                                                                         8   consumer complaints about the engine defect made directly to BMW and its
                                                                                         9
                                                                                        10   dealers, testing conducted by BMW in response to these complaints, as well as
                                                                                        11
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                                                                                        12   network of dealers, amongst other sources of internal information.
                                                                                        13         60.    Plaintiff is informed, believes, and thereon alleges that while
                                                                                        14   Defendant knew about the Oil Consumption Defect, and its safety risks since mid-
                                                                                        15   2008, if not before, Defendant nevertheless concealed and failed to disclose the
                                                                                        16   defective nature of the Vehicle and its engine to Plaintiff at the time of lease and
                                                                                        17   thereafter. Had Plaintiff known that the subject Vehicle suffered from the Oil
                                                                                        18   Consumption Defect, he would not have purchased the subject vehicle.
                                                                                        19         61.    By failing to disclose and concealing the defective nature of the N63
                                                                                        20   engine from Plaintiff, Defendant violated California Civil Code § 1770(a), as it
                                                                                        21   represented that the Vehicle and its engine had characteristics and benefits that
                                                                                        22   they do not have, and represented that the Vehicle and its engine were of a
                                                                                        23   particular standard, quality, or grade when they were of another. See Cal. Civ.
                                                                                        24   Code §§ 1770(a)(5) and (7).
                                                                                        25         62.    Unfair and deceptive acts or practices occurred repeatedly in
                                                                                        26

                                                                                        27   substantial portion of the purchasing public, and imposed a serious safety risk on
                                                                                        28   the public, including Plaintiff.

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                                                                                         1         63.    Defendant knew that the Vehicle and its engine suffered from an
                                                                                         2   inherent defect, was defective, would fail prematurely, and was not suitable for its
                                                                                         3   intended use.
                                                                                         4         64.    Defendant was under a duty to Plaintiff to disclose the defective
                                                                                         5   nature of the Vehicle and its twin-turbocharged engine, its safety consequences
                                                                                         6   and/or the associated repair costs because:
                                                                                         7                a. Defendant acquired its knowledge of the Oil Consumption Defect
                                                                                         8                   and its potential consequences prior to Plaintiff acquiring the
                                                                                         9                   subject vehicle, though sources not available to consumers such as
                                                                                        10                   Plaintiff, including but not limited to pre-production testing data,
                                                                                        11                   early consumer complaints about the Oil Consumption Defect
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                                                                                        12                   made directly to BMW and its network of dealers, aggregate
                                                                                        13

                                                                                        14                   conducted by BMW in response to these complaints, as well as
                                                                                        15                   warranty repair and part replacements data received by BMW
                                                                                        16

                                                                                        17                   internal information;
                                                                                        18                b. Defendant was in a superior position from various internal sources
                                                                                        19                   to know (or should have known) the true state of facts about the
                                                                                        20                   material defects contained in vehicles equipped with N63 engine;
                                                                                        21                   and
                                                                                        22                c. Plaintiff could not reasonably have been expected to learn or
                                                                                        23

                                                                                        24                   potential consequences until well after Plaintiff purchased the
                                                                                        25                   Vehicle.
                                                                                        26         65.
                                                                                        27   has knowingly and intentionally concealed material facts and breached its duty not
                                                                                        28   to do so.

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                                                                                         1         66.    The facts concealed or not disclosed by Defendant to Plaintiff are
                                                                                         2   material in that a reasonable person would have considered them to be important
                                                                                         3   in deciding whether or not to purchase the Vehicle. Had Plaintiff known that the
                                                                                         4   Vehicle and its engine were defective at the time of lease, he would not have
                                                                                         5   leased the Vehicle.
                                                                                         6         67.    Plaintiff is a reasonable consumer who does not expect his engine to
                                                                                         7   fail and not work properly. Plaintiff further expects and assumes that Defendant
                                                                                         8   will not sell or lease vehicles with known material defects, including but not
                                                                                         9
                                                                                        10   its consumers before selling such vehicles.
                                                                                        11         68.                                         uct, Plaintiff has been harmed and
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                                                                                        12   has suffered actual damages.
                                                                                        13         69.
                                                                                        14   acts or practices, Plaintiff has suffered and will continue to suffer actual damages.
                                                                                        15         70.    Plaintiff is entitled to equitable and injunctive relief under the CLRA.
                                                                                        16         71.    Plaintiff has provided Defendant with notice of its alleged violations
                                                                                        17   of the CLRA pursuant to California Civil Code § 1782(a). If, within 30-days,
                                                                                        18   Defendant fails to provide appropriate relief for its violations of the CLRA,
                                                                                        19   Plaintiff will amend this Complaint to seek monetary, compensatory, and punitive
                                                                                        20   damages, in addition to the injunctive and equitable relief he seeks now.
                                                                                        21         72.    Accordingly, in connection with his CLRA claim only, Plaintiff is
                                                                                        22   seeking only injunctive and equitable relief at this time.
                                                                                        23                               EIGHTH CAUSE OF ACTION
                                                                                        24                         BY PLAINTIFF AGAINST DEFENDANTS
                                                                                        25            VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                                                                                        26         73.    Plaintiff incorporates by reference the allegations contained in the
                                                                                        27   paragraphs set forth above.
                                                                                        28

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                                                                                         1         74.                                      efined in the Magnuson-Moss
                                                                                         2                                       -
                                                                                         3         75.                                                                         -
                                                                                         4   Moss Act, 15 U.S.C. § 2301(4), 15 U.S.C. § 2301(5).
                                                                                         5         76.                                                          the Mag-Moss
                                                                                         6   Act, 15 U.S.C. § 2301(1).
                                                                                         7         77.    In addition to the express warranty, in connection with the sale of
                                                                                         8   the Vehicle to Plaintiff, an implied warranty of merchantability was created
                                                                                         9                                                                               med
                                                                                        10

                                                                                        11   were ineffective pursuant to 15 U.S.C. § 2308(c).
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                                                                                        12         78.    Defendant violated the Mag-Moss Act when it breached the express
                                                                                        13   warranty and implied warranties by failing to repair the defects and
                                                                                        14   nonconformities, or to replace the Vehicle.
                                                                                        15         79.
                                                                                        16   to bring this claim, or alternatively it would have been futile for Plaintiff to do
                                                                                        17   so.
                                                                                        18         80.    In addition, Plaintiff has met all of Pl
                                                                                        19   bringing this claim as provided in the written warranties, or alternatively,
                                                                                        20   Defendant does not maintain an informal dispute resolution process for the
                                                                                        21   purpose of resolving claims for breach of the implied warranty of
                                                                                        22   merchantability, and does not maintain an informal dispute resolution process for
                                                                                        23   resolving express warranty claims that complies with the requirements of 15
                                                                                        24   U.S.C. § 2310(a) and the rules and regulations adopted pursuant thereto by the
                                                                                        25   Federal Trade Commission.
                                                                                        26         81.    As a direct and proximate result of the acts and omissions of the
                                                                                        27   Defendant, Plaintiff has been damaged in the form of general, special and actual
                                                                                        28

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                                                                                         1   damages in an amount within the jurisdiction of this Court, according to proof at
                                                                                         2   trial.
                                                                                         3            82.   Under the Act, Plaintiff is entitled to reimbursement of the entire
                                                                                         4   amount paid or payable.
                                                                                         5            83.   Plaintiff is entitled to all incidental, consequential, penalties, and
                                                                                         6

                                                                                         7   obligations under the Mag-Moss Act.
                                                                                         8            84.   Plaintiff
                                                                                         9   its obligations under the express warranty, implied warranty, as well as any other
                                                                                        10   violations alleged here, and therefore brings this claim pursuant to 15 U.S.C.
                                                                                        11   §2310(d) and seeks remedies available pursuant to Magnuson-Moss Act under
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                                                                                        12   California law, including California Civil Code Section 1794 and/or California
                                                                                        13   Commercial Code Sections 2711-2715, and/or other remedies that the Court may
                                                                                        14   deem proper.
                                                                                        15            85.   Plaintiff is entitled under the Mag-Moss Act to recover as part of the
                                                                                        16   judgment a sum equal to the aggregate amount of costs and expenses, including
                                                                                        17

                                                                                        18   prosecution of this action pursuant to 15 U.S.C. § 2310(d)(2).
                                                                                        19
                                                                                        20                                           PRAYER
                                                                                        21            PLAINTIFF PRAYS for judgment against Defendant as follows:
                                                                                        22                     a.
                                                                                        23                          proof;
                                                                                        24                     b. For restitution;
                                                                                        25                     c.
                                                                                        26                          actual damages pursuant to Civil Code section 1794,
                                                                                        27                          subdivision (c) or (e);
                                                                                        28                     d. For any consequential and incidental damages;

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                                                                                         1        e. Immediately cease the sale and leasing of any BMW vehicles
                                                                                         2             equipped with the N63 engine of the same make, year and
                                                                                         3             model as the subject vehicle at all BMW dealerships in the
                                                                                         4             state of California without first having notified the purchasers
                                                                                         5             or lessee of these vehicles about the Oil Consumption Defect,
                                                                                         6             and otherwise cease to engage in the violations of the
                                                                                         7             Consumer Legal Remedies Act, as set forth above;
                                                                                         8        f.
                                                                                         9             pursuant to Civil Code section 1794, subdivision (d);
                                                                                        10        g. For punitive damages;
                                                                                        11        h. For prejudgment interest at the legal rate; and
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                                                                                        12        i. For such other relief as the Court may deem proper.
                                                                                        13

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                                                                                         1                            DEMAND FOR JURY TRIAL
                                                                                         2         Plaintiff hereby demands a jury trial on all causes of action asserted
                                                                                         3   herein.
                                                                                         4

                                                                                         5   Dated: August 25, 2017                STRATEGIC LEGAL PRACTICES
                                                                                         6
                                                                                                                                   A PROFESSIONAL CORPORATION

                                                                                         7                                   BY:          /S/ YOON KIM
                                                                                         8                                           Yoon Kim, Attorney for Plaintiff
                                                                                                                                     Kwon Chae Yi
                                                                                         9                                           STRATEGIC LEGAL PRACTICES
                                                                                        10                                           A PROFESSIONAL CORPORATION
                                                                                                                                     1840 Century Park East, Suite 430
                                                                                        11                                           Los Angeles, California 90067
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                                                                                                                                     Telephone: (310) 929-4900
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                                                                                                                                     Facsimile: (310) 943-3838
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                                                                                        14                                           Registered participant of ECF

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                                                                                                                      COMPLAINT; JURY TRIAL DEMANDED
Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2504 Page 50 of 97




                      EXHIBIT B
             TO REQUEST FOR JUDICIAL NOTICE
Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2505 Page 51 of 97




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        Attorneys for SLP Plaintiffs                                                 LOS ANGELES




                                  CHAIRPERSON OF THE JUDICIAL COUNSEL

                                            OF THE STATE OF CALIFORNIA


        IN RE: KIA MOTOR VEHICLES CASES                                   Judicial Counsel Coordination Proceeding

                                                                          JCCP No. 4987
        OLENA DARMOHRAY
                                                                          Santa Clara Superior Court Case No.
                          Plaintiff,                                      18CV329904

            v.                                                          DECLARATION OF ERIN MELODY-
                                                                        ROSENFELD IN SUPPORT OF SLP
        KIA MOTORS AMERICA,INC., and DOES 1                             PLAINTIFFS' OPPOSITION TO MA
                                                                        MOTORS AMERICA,INC.'S PETITION
        through 10, inclusive,                                          FOR COORDINATION
                          Defendants.                                    Hearing Date: January 28, 2019
                                                                         Hearing Time: 1:45pm
                                                                         Hearing Dept: 11

                                                                        [Concurrentlyfiled with SLP Plaintiffs'
                                                                        Opposition and Requestfor Judicial Notice]


                                     DECLARATION OF ERIN MELODY-ROSENFELD

                 1,Erin Melody-Rosenfeld, declare as follows:

                 1.        I am an attorney admitted to the Bar of the State of California. I am an attorney

        with Strategic Legal Practices, APC ("Strategic"), counsel of record for the SLP Plaintiffs

                                                                   1
                 Declaration OfErin Melody-Rosenfeld In Sunnoit Of SLP Plaintiffs' Opposition to Kia's Petition for Coordination
Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2506 Page 52 of 97




        (hereinafter "SLP Plaintiffs") in the above-entitled action. My knowledge of the information and

        events described herein derives from a combination of my personal knowledge and a careful

        review of the file, relevant court records and communications with other Plaintiffs' counsel, and

        if called as a witness, I could and would competently testify thereto.

               2.       I submit this declaration in support of SLP Plaintiffs' Opposition to Kia Motors

        America, Inc.'s Petition for Coordination

               3.       Attached as Exhibit 1 hereto is a true and correct copy of an Appendix containing

        a detailed, case-by-case analysis ofthe 30 SLP Cases that Kia seeks to coordinate.

               4.       These types of cases typically involve relatively small numbers of witnesses and

        the documentary evidence is rarely voluminous such that specialized "management" is required.

        Five to six trial witnesses are usually sufficient, including the plaintiff(s), one expert per side, a

        Kia person most qualified as to the defects and the repurchase process, and possibly one to two

        technicians who serviced the vehicle.

               5.       Documentary evidence usually includes case-specific documents like sales

        agreements, repair orders, warranty claim histories, and expert witness reports, along with more

        generalized owners' manuals and warranty documents and Kia's policies and procedures and

        internal investigations about defects.

               6.        Kia also "anticipates" that it will file motions for summary judgment and motions

        to compel arbitration, although it does not indicate that these motions will be filed in all or even

        most of the 98 cases (in particular, motions for summary judgment are quite rarely filed in Song-

        Beverly Act cases and there are no known grounds to compel arbitration for the 30 SLP Plaintiffs).

               7.        On the contrary, the only motions typically filed in these cases are challenges to

        the pleadings; occasional discovery motions; and occasional motions for summary judgment.

        None of these motions involve unique or novel issues, and they are no more time-consuming to

        resolve than are similar motions routinely filed in cases of every type across this State.

               8.        Song-Beverly Act cases require no postjudgment supervision whatsoever: once a

        judgment is entered for damages, civil penalties(where applicable), and attorney's fees and costs,

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               Declaration Of Erin Melody-Rosenfeld In Support Of SLP Plaintiffs' Opposition to Kia's Petition for Coordination
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        each case is permanently dismissed without further judicial supervision.

               9.       Each of the Included Actions requires a case-specific analysis for adjudication as

        each involves different vehicles, defects, repair histories, and perhaps most crucially, different

        claims evaluations and repurchase/replacement decisions.

               10.      Because the Included Actions require case-specific analysis, each requires case-

        specific discovery, including the plaintiff(s)' deposition, vehicle inspections and testing,

        deposition of Kia's person(s) most knowledgeable on case specific questions, written discovery

        on case-specific questions, and depositions of repair technicians who worked on the subject

        vehicle in each case.

               1 1.      Each Included Action has different damages depending upon the plaintiffs

        circumstances and intended use of the vehicle; type of defect and impairment of the use, value,

        and safety of the vehicle; the initial and diminished value of the vehicle, and in some cases its

        disposition prior to trial; the number and outcome of each vehicle's attempted repairs; the

        plaintiffs efforts to obtain relief before litigation; Kia's evaluation, decision, and communication

        regarding each plaintiffs different situation and/or request for repurchase or replacement; and

        other fact-specific issues unique to each case.

               12.       Kia suggests, without evidence, that coordination will "facilitate settlement."

        However, lemon law cases settle readily without coordination.

                13.      The pressure of a rapidly approaching trial date often induces the settlement of a

        civil action. SLP has prosecuted thousands of Song-Beverly Act cases against various auto

        manufacturers within the past several years, and the vast majority of settlements reached occurred

        within close proximity to the trial date.

               I declare under the penalty of perjury that the foregoing is true and correct. Executed

        this 14th day of January, 2019, in Los Angeles, California.




                                                                  Erin Melody-Rosenfeld)

                                                                  3
               Declaration Of Erin Melody-Rosenfeld In Support Of SLP Plaintiffs' Opposition to Kia's Petition for Coordination
Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2508 Page 54 of 97




                       EXHIBIT C
              TO REQUEST FOR JUDICIAL NOTICE
   Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2509 Page 55 of 97
                             SUPERIOR COURT OF CALIFORNIA,
                                          COUNTY OF SAN DIEGO
                                             HALL OF JUSTICE
                                     TENTATIVE RULINGS - July 16, 2019


EVENT DATE: 07/19/2019               EVENT TIME:      01:30:00 PM        DEPT.: C-72
JUDICIAL OFFICER:Timothy Taylor


CASE NO.:      37-2017-00042273-CU-BC-CTL

CASE TITLE: ALLEN VS JAGUAR LAND ROVER NORTH AMERICA LLC [IMAGED]


CASE CATEGORY: Civil - Unlimited                  CASE TYPE: Breach of Contract/Warranty


EVENT TYPE: Motion Hearing (Civil)
CAUSAL DOCUMENT/DATE FILED: Motion for Attorney Fees, 06/26/2019

Tentative Ruling on Motion for Attorneys' Fees, Costs, and Expenses
Allen v. Jaguar Land Rover, Case No. 2017-42273
July 19, 2019, 1:30 p.m., Dept. 72

1. Overview and Procedural Posture.

This is a "lemon law" case involving plaintiff Jamie Allen's purchase, in 2016, of a used 2015 Land Rover
Evoque. The complaint filed in November of 2017 alleged "defective Engine System, defective
Infotainment System, defective Drivetrain System, check engine light being illuminated, vehicle lurching,
failing turbo chargers, defective rear differential, defective power transfer unit, oil leakage and noises
during start-up, among other concerns." ROA 1, paragraph 12.
Defendants Jaguar Land Rover North American, LLC and Kuni SDL, LLC ("defendants") answered in
February and October of 2018 (ROA 8, 25), and in due course the court set the case for trial in early
2019. ROA 18-22. Shortly before the TRC, however, the parties notified the court the case has settled,
subject to the present motion for attorneys' fees (which has been calendared several times). ROA
30-32. No moving papers were received for the May 3, 2019 hearing, and no party informed the court
that the parties had resolved the attorneys' fee issue. This led the court to tentatively set an OSC re
sanctions. ROA 34. Plaintiff's counsel filed a declaration (ROA 35), and the court did not impose
sanctions. ROA 37.
The motion is finally before the court. ROA 38-43. It seeks an award of attorneys' fees of $21,258.00 and
costs and expenses of $816.55. See ROA 38, notice of motion, p. 2:10-16. Defendants filed opposition
which contends both the requested attorneys' fees and moving counsel's hourly rate "are too high".
ROA 44-46. The opposition adds defendants "believe that $8,500 reflects the amount reasonably
incurred on this routine case." Plaintiff filed reply. ROA 47-49. The court has reviewed the papers.
2. Applicable Standards.
A. A buyer of consumer goods who is damaged by breach of the express or implied warranties may
bring an action to recover damages pursuant to the Song-Beverly Act (Jensen v. BMW of North America,
Inc. (1995) 35 Cal.App.4th 112, 121), which is designed to give consumers broader protection for breach
Event ID: 2105102                        TENTATIVE RULINGS                 Calendar No.:
                                               Page: 1
   Case 3:19-cv-00706-JM-BGS Document 61-5 Filed 05/22/20 PageID.2510 Page 56 of 97

CASE TITLE: ALLEN VS JAGUAR LAND ROVER CASE NUMBER: 37-2017-00042273-CU-BC-CTL
              NORTH AMERICA LLC [IMAGED]
of warranty than buyers would have under the common law or the California Uniform Commercial Code
(Jiagbogu v. Mercedes–Benz USA (2004) 118 Cal.App.4th 1235, 1241).
As the court was sternly reminded last year by the Court of Appeal, the Song-Beverly Act is a remedial
statute designed to protect consumers who have purchased products covered by an express warranty.
Jensen v. BMW of North America, Inc. supra, at 121. It requires a manufacturer to replace "consumer
goods" or reimburse the buyer if the manufacturer or its representative is unable to repair the consumer
good after a reasonable number of attempts. Civil Code § 1793.2(d)(1). The Act similarly provides that
if a manufacturer or its representative in this state fails to repair a "new motor vehicle" to conform to any
express warranty after a reasonable number of attempts to repair, the manufacturer must replace the
vehicle or pay restitution. Civil Code § 1793.2(d)(2).
A plaintiff pursuing an action under the Act has the burden to prove that (1) the product had a
nonconformity covered by the express warranty that substantially impaired the use, value or safety of the
product; (2) the product was presented to an authorized representative of the manufacturer for repair;
and (3) the manufacturer or its representative did not repair the nonconformity after a reasonable
number of repair attempts. Oregel v. American Isuzu Motors, Inc. (2001) 90 Cal.App.4th 1094, 1101.
"The reasonableness of the number of repair attempts is a question of fact to be determined in light of
the circumstances, but at a minimum there must be more than one opportunity to fix the nonconformity.
[Citation.]" Robertson v. Fleetwood Travel Trailers of California, Inc. (2006) 144 Cal.App.4th 785, 799.
For new motor vehicles there is a presumption of failure to conform to warranty within a reasonable
number of attempts after four repairs of the same nonconformity and notification to the manufacturer of
the need for repair. Civil Code § 1793.22(b)(2).
Damages for breach of an express warranty on a new automobile is governed by Civil Code section
1793.2. If the manufacturer is unable to service or repair a vehicle to conform to an express warranty
after a reasonable number of attempts, the buyer may seek replacement or restitution. Civil Code §
1793.2(d)(2). Restitution shall be "in an amount equal to the actual price paid or payable by the buyer...."
Civil Code § 1793.2(d)(2)(B). The "actual price paid or payable" may be reduced by any amount
attributable to the buyer's use prior to the first time the buyer brought the car in for repair. Civil Code §
1793.2(d)(2)(C] (formula for calculating the "amount directly attributable to use by the buyer"). In
addition, the buyer is entitled to incidental or consequential damages as defined in California Uniform
Commercial Code section 2715. Civil Code § 1794; Kwan v. Mercedes–Benz of North America, Inc.
(1994) 23 Cal.App.4th 174, 187-188.
The replacement/restitution remedy is available only for breach of an express warranty. Gavaldon v.
DaimlerChrysler Corp. (2004) 32 Cal.4th 1246, 1262. Damages for breach of an implied warranty is
governed by Civil Code section 1791.1(d) which provides, "Any buyer of consumer goods injured by a
breach of the implied warranty of merchantability ... has the remedies provided in Chapter 6
(commencing with Section 2601) and Chapter 7 (commencing with Section 2701) of Division 2 of the
[California Uniform] Commercial Code, and, in any action brought under such provisions, Section 1794
of this chapter shall apply." When the buyer accepts the goods, damages for breach of the implied
warranty include damages available under California Uniform Commercial Code sections 2714 and
2715. Civil Code § 1794(b)(2).
Under California Uniform Commercial Code section 2714, subdivision (2), the measure of damages for
breach of warranty where the buyer has accepted goods, "is the difference at the time and place of
acceptance between the value of the goods accepted and the value they would have had if they had
been as warranted, unless special circumstances show proximate damages of a different amount." See
Isip v. Mercedes–Benz USA, LLC (2007) 155 Cal.App.4th 19, 25.
B. California follows the "American rule," under which each party to a lawsuit ordinarily must pay his,
her or its own attorney fees. Douglas E. Barnhart, Inc. v. CMC Fabricators, Inc. (2012) 211 Cal.App.4th
230, 237; Trope v. Katz (1995) 11 Cal.4th 274, 278; Gray v. Don Miller & Associates, Inc. (1984) 35
Cal.3d 498, 504. Code of Civil Procedure section 1021 codifies the rule, providing that the measure and
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CASE TITLE: ALLEN VS JAGUAR LAND ROVER CASE NUMBER: 37-2017-00042273-CU-BC-CTL
               NORTH AMERICA LLC [IMAGED]
mode of attorney compensation is left to the agreement of the parties "[e]xcept as attorney's fees are
specifically provided for by statute." One such statute is Civil Code section 1794(d) (for the Song-Beverly
Consumer Warranty Act claim).
A trial court ordinarily has broad discretion in determining a reasonable amount of attorney fees. PLCM
Group, Inc. v. Drexler (2000) 22 Cal.4th 1084, 1095. "[T]he fee setting inquiry in California ordinarily
begins with the 'lodestar,' i.e., the number of hours reasonably expended multiplied by the reasonable
hourly rate. . . . The lodestar figure may then be adjusted, based on consideration of factors specific to
the case, in order to fix the fee at the fair market value for the legal services provided. [Citation.] Such
an approach anchors the trial court's analysis to an objective determination of the value of the attorney's
services, ensuring that the amount awarded is not arbitrary." Id.
Generally, a trial court is not required to provide a detailed explanation of how it arrived at a fee award.
See, e.g., Maria P. v. Riles (1987) 43 Cal.3d 1281, 1294-1295; Gorman v. Tassajara Development Corp.
(2009) 178 Cal.App.4th 44, 65-67. California courts have explicitly departed from federal law requiring
district courts to explain their fee awards with particularity. See, e.g., Gorman v. Tassajara Development
Corp., supra, at 66-67; Californians for Responsible Toxics Management v. Kizer (1989) 211 Cal.App.3d
961, 970.
Case law makes clear that prevailing plaintiffs are entitled to fees for pursuit of fee claims. Graham v.
Daimler Chrysler (2004) 34 Cal.4th 553, 580; Ketchum v. Moses (2001) 24 Cal.4th 122, 133-34.
C. A trilogy of recent published cases from two divisions of the 4th DCA and from the 2d DCA Division 7
served as reminders of what trial court may not do in addressing fee applications in lemon law cases. In
Warren v. Kia Motors (2018) 30 Cal.App.5th 24, 39, the court held that trial courts may not make fee
awards which reduce lodestars in an effort to make the award "roughly proportional" to the damages
awarded. In Etcheson v. Chrysler (2018) 30 Cal.App.5th 831, the court held a trial court may not
consider a technically invalid Code of Civil Procedure section 998 offer in determining the
reasonableness of attorneys' fees incurred following the making of that offer. Id. at 846. And in Hanna v.
Mercedes Benz (June 18, 2019) 2019 WL 2511940, the court held the trial court had erred in reducing
plaintiff's counsel's demand for $259,000 to $60,000 based on a contingent fee agreement the lawyers
had signed with their client: "While the trial court has broad discretion to increase or reduce the
proposed lodestar amount based on the various factors identified in case law, including the complexity of
the case and the results achieved, the court's analysis must begin with the 'actual time expended,
determined by the court to have been reasonably incurred.' '[I]t is inappropriate and an abuse of a trial
court's discretion to tie an attorney fee award to the amount of the prevailing buyer/plaintiff's damages or
recovery in a Song-Beverly Act action.'" 2019 WL 2511940 at p. 10.

3. Evidentiary Objections.
Included with the opposition (ROA 45) are 14 evidentiary objections to the Nita declaration (ROA 40). A
proposed order is not provided for ruling on the evidentiary objections. See CRC 3.1354(c) (proposed
order requirement in summary judgment/adjudication context).
The evidentiary objections are overruled. Many are boilerplate and unwarranted. For the most part,
attorney Nita states personal knowledge for the matters stated in his declaration. Also, the evidentiary
objections are essentially what the Supreme Court had in mind when it wrote, in another context:
  "We recognize that it has become common practice for litigants to flood the trial courts with
inconsequential written evidentiary objections, without focusing on those that are critical. Trial courts are
often faced with innumerable objections commonly thrown up by the parties as part of the all-out artillery
exchange that summary judgment has become. (Mamou v. Trendwest Resorts, Inc. (2008) 165
Cal.App.4th 686, 711-712.) Indeed, the Biljac procedure itself was designed to ease the extreme burden
on trial courts when all too often litigants file blunderbuss objections to virtually every item of evidence
submitted. (Demps, supra, 149 Cal.App.4th at pp. 578-579, fn. 6; Biljac, supra, 218 Cal.App.3d at p.
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                                                     Page: 3
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                NORTH AMERICA LLC [IMAGED]
1419, fn. 3) ... To counter that disturbing trend, we encourage parties to raise only meritorious objections
to items of evidence that are legitimately in dispute and pertinent to the disposition of the summary
judgment motion."
Reid v. Google, Inc. (2010) 50 Cal.4th 512, 532.

In line with the Supreme Court's view, the court encourages counsel to raise only meritorious and
important objections in the future.
4. Discussion and Ruling.
A. Based on the aforementioned trilogy of cases, the court considers its hands largely tied in this matter.
The Courts of Appeal uniformly held that the trial courts could not consider proportionality or the
legitimate needs of the case. Instead, the rule appears to be that as long as plaintiff's counsel can
articulate some "reason" for incurring the fee, the trial court must award it. While this trial judge accepts,
as it must, these appellate court expositions as reflective of the current state of the law, the court would
be remiss in failing to add that it nevertheless considers this to be bad policy for our state, for several
interrelated reasons.
It has long been held that the "experienced trial judge is the best judge of the value of professional
services rendered in his [or her] court, and while his [or her] judgment is of course subject to review, it
will not be disturbed unless the appellate court is convinced that it is clearly wrong." Graciano v.
Robinson Ford Sales, Inc. (2006) 144 Cal.App.4th 140, 148; see also 569 East County Boulevard LLC v.
Backcountry Against the Dump, Inc. (2016) 6 Cal.App.5th 426, 433. Yet the Courts in Warren, Hanna,
and Etcheson reversed the trial courts because the Justices interpreted Civil Code section 1794(d) as
forbidding consideration of the legitimate needs of the case or the proportionality of the fee request to
the result obtained in the litigation. The Legislature should step in to address this.
Lemon law cases are commodity cases; rarely are "cutting edge" legal principles involved.* Ordinarily,
these cases seek to remedy the problems experienced by a single consumer with a single vehicle. Yet
because of the current wording of section 1794(d) as interpreted by the Courts of Appeal, the lemon law
plaintiff's bar has been emboldened to over-litigate cases the manufacturers regularly seek to settle, with
no benefit to the injured consumer. Indeed, the over- litigation for purposes of padding the fee
application can actually injure the consumer, by delaying resolution of the case and the buy-back of the
vehicle. As this court has previously observed, the fee shifting provisions of the "lemon law" statutes
have been twisted from the purpose contemplated by the Legislature into something the well-intentioned
drafters of the statutory framework would scarcely recognize. When a statutory scheme becomes a
vehicle for lawyers to create unnecessary conflict for no other reason than running up the fees, that
statute needs to be re-examined. When lawyers put their own fee-driven interests ahead of the interests
of their clients, the integrity of the legal profession is threatened. When court time that could be more
beneficially used in other areas is instead used in resolving bloated fee disputes, the courts and the
litigants suffer.
Accordingly, the court urges the Legislature to amend Civil Code section 1794(d) by adding the following
language: "In determining whether fees were reasonably incurred, the court may consider, among other
factors, the legitimate needs of the case, the reasonableness of the parties' efforts to settle the case,
and the proportionality of the fee request to the result obtained in the litigation for the injured consumer."
Turning to the current fee application: The parties agreed that plaintiff is entitled to an award of
reasonable attorneys' fees and costs pursuant to Civil Code section 1794(d), which will be determined
on a noticed motion. See ROA 40, Nita supporting declaration, paragraph 14. Thus, the issue to be
resolved is the appropriate amount of a reasonable fee award for plaintiff in a case in which the value of
the settlement was about $40,000.00. Moving Br. at 5:6-10, 7:3-4.
The court finds the hourly rate charged by plaintiff's counsel, Mr. Nita, is on the high side for a
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CASE TITLE: ALLEN VS JAGUAR LAND ROVER CASE NUMBER: 37-2017-00042273-CU-BC-CTL
                NORTH AMERICA LLC [IMAGED]
garden-variety lemon law case such as this in the San Diego community as to attorneys with similar
experience and expertise. In this regard, Mr. Nita has been an attorney since 2003 and charges
$500.00 per hour. See ROA 40, Nita supporting declaration, paragraph 16-17, 20. Also, the motion
identifies five trial court rulings in 2018 and 2019 from other cases involving plaintiff's counsel (three
rulings approving a $450.00 per hour rate in 2019; two rulings approving a $500.00 per hour rate in 2018
and 2019), yet the moving papers fail to mention the facts of those cases and whether the defendants in
those cases challenged the attorneys' fee application.** Id., paragraphs 29-33. Further, the motion fails
to explain why Mr. Nita's hourly rate should be more than the $450.00 per hour awarded to Mr. Nita in
the three attorneys' fees applications approved in 2019. Id., paragraphs 31-33.
The billing rates for the two San Diego lemon law attorneys mentioned in the motion (Rosner and
Lindsay, at least one of which has received a fee award from this court) have practiced law since 1983
and 1993, respectively, well before plaintiff's attorney worked on this case. Id., paragraphs 22-23 (billing
rates for two San Diego lemon law attorneys). The billing rates for the Los Angeles lemon law attorneys
related in the motion have practiced law "for over 20 years", a longer period than Mr. Nita. Id., paragraph
24. The motion fails to explain why Mr. Nita should receive an hourly rate as high as these other San
Diego and Los Angeles attorneys. So the court finds that $450/hr. is a reasonable hourly rate for Mr.
Nita.

The court makes the foregoing observations having run cases and supervised associates and sent out
bills and successfully pursued attorneys' fees applications while in practice in San Diego prior to 2005,
and having ruled on hundreds of attorneys' fees applications in a variety of settings in the nearly 15
years since. "[T]he trial court is in the best position to value the services rendered by the attorneys in his
or her courtroom ... the court may rely on its own knowledge and familiarity with the legal market, as well
as the experience, skill, and reputation of the attorney requesting fees". See 569 East County
Boulevard, LLC v. Backcountry Against the Dump, Inc., supra, 6 Cal.App.5th at 436-437.
Turning to the hours expended by plaintiff's counsel, the hours expended are also a little on the high side
given the needs of the case. See 569 East County Boulevard, LLC v. Backcountry Against the Dump,
Inc., supra, 6 Cal.App.5th at 440-441 (trial court may reduce attorney hours if it concludes the attorneys
performed work unrelated to the special motion to strike or represented work that was unnecessary in
view of the issues presented). Plaintiff's attorney expended a total of 41.33 hours on this file. See ROA
40, Nita supporting declaration, Exhibit A, p. 7.
Mr. Nita could have utilized properly supervised paralegal staff who could have performed routine legal
work. Instead, Mr. Nita billed and performed all legal services himself, suggesting inefficiency. See ROA
40, Nita supporting declaration, Exhibit A. As such, the case was not properly leveraged. Also, this
action was a garden-variety lemon law case. There were no complicated legal or factual issues; the
complaint pled only two counts. No specialized skill was needed to prosecute the case. Further, the case
settled with no depositions being conducted and without responses by plaintiff to defendants' discovery.
See ROA 46, Hurvitz opposition declaration, paragraph 13. Moreover, written discovery was propounded
by plaintiff and defendants (see, e.g., ROA 46, Hurvitz opposition declaration, Exhibit D, plaintiff's written
discovery), yet the written discovery was no different than one would expect in a garden-variety lemon
law case. In addition, no expert discovery is indicated. Likewise, the fees charged for making the motion,
approximately $5,625.00, are high (11.25 hours x $500.00 per hour) when considering plaintiff's attorney
claims he is an experienced lemon law attorney (and claims he has made such a motion for fees several
times before). See ROA 40, Nita supporting declaration, paragraphs 19, 25-33. Possibly contributing to
the inefficiency was the disruptive office move described by Mr. Nita in ROA 35. As such, the hours
expended by plaintiff's counsel are somewhat excessive.
Accordingly, the court finds a modest reduction is in order and awards plaintiff the sum of $18,000.00 as
reasonable attorneys' fees under the circumstances.
B. Turning to plaintiff's request for costs and expenses, plaintiff seeks total costs and expenses of
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CASE TITLE: ALLEN VS JAGUAR LAND ROVER CASE NUMBER: 37-2017-00042273-CU-BC-CTL
             NORTH AMERICA LLC [IMAGED]
$816.55.*** Defendants' opposition does not challenge this sum. Thus, plaintiff may recoup his costs of
$816.55. However, defendants' opposition challenges the "Administrative Fees" of $600.00 set forth in
the Nita Law Firm Invoice. See ROA 40, Exhibit A, p. 7. Plaintiff fails to substantiate "Administrative
Fees" of $600.00. This amount is not allowed to the extent plaintiff seeks to recoup the expense.
Accordingly, plaintiff is awarded costs of $816.55, as requested in plaintiff's notice of motion.

C. Plaintiff's counsel must supply a form of judgment in plaintiff's favor: attorneys' fees of $18,000.00,
and costs of $816.55.
__________
*In a non-commodity, high risk case involving defective automobiles (Lockabey v. American Honda, No.
2010-087755), this court awarded very substantial attorneys' fees several years ago.
**Included with the reply papers are new matters, not included in the moving papers: the trial court
rulings in recent lemon law cases handled by plaintiff's attorney (and only mentioned in the moving
papers). See ROA 40 Nita reply declaration, Exhibits E-I (the recent rulings). The new matters are
disregarded. See San Diego Watercrafts, Inc. v. Wells Fargo Bank, N.A. (2002) 102 Cal.App.4th 308,
316 (due process requires a party be fully advised of the issues to be addressed and be given adequate
notice of what facts it must rebut in order to prevail); Zamani v. Carnes (9th Cir. 2007) 491 F.3d 990, 997
("[t]he district court need not consider arguments raised for the first time in a reply brief"); American Drug
Stores, Inc. v. Stroh (1992) 10 Cal.App.4th 1446, 1453 ("[p]oints raised for the first time in a reply brief
will ordinarily not be considered, because such consideration would deprive the respondent of an
opportunity to counter the argument"); Neighbours v. Buzz Oates Enterprises (1990) 217 Cal.App.3d
325, 335, fn. 8 ("'the rule is that points raised in the reply brief for the first time will not be considered,
unless good reason is shown for failure to present them before.'") Moreover, none of the trial court
rulings involved the relevant San Diego legal community. Instead, three rulings are from the Los Angeles
Superior Court, one ruling is from the San Bernardino Superior Court, and one ruling is from the
Monterey Superior Court. "In determining hourly rates, the court must look to the 'prevailing market rates
in the relevant community'", which here is the San Diego community. See Heritage Pacific Financial LLC
v. Munroy (2013) 215 Cal.App.4th 972, 1009.
***Although the notice of motion seeks $816.55, plaintiff's costs memorandum seeks $816.65. See ROA
41. The notice of motion must state in the first paragraph exactly what relief is sought and why. See
Code of Civil Procedure § 1010; see also CRC 3.1110(a); see also People v. American Surety Ins. Co.
(1999) 75 Cal.App.4th 719, 726. The court cannot grant different relief, or relief on different grounds,
than stated in the notice of motion. See People v. American Surety Ins. Co., supra, 75 Cal.App.4th at
726; see also Luri v. Greenwald (2003) 107 Cal.App.4th 1119, 1125.




Event ID: 2105102                         TENTATIVE RULINGS                   Calendar No.:
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                      EXHIBIT D
             TO REQUEST FOR JUDICIAL NOTICE
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        Filed 4/1/20 Certified for Publication 4/24/20 (order attached)




         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                              SECOND APPELLATE DISTRICT

                                          DIVISION ONE


        LORIK MIKHAEILPOOR,                                       B293987

                Plaintiff and Appellant,                          (Los Angeles County
                                                                  Super. Ct. No. BC611197)
                v.

        BMW OF NORTH AMERICA, LLC,
        et al.,

                Defendants and Respondents.



             APPEAL from an order of the Superior Court of Los Angeles
        County. Randolph M. Hammock, Judge. Affirmed.
                             _________________
              Rosner, Barry & Babbitt, Hallen D. Rosner and Arlyn L.
        Escalante for Plaintiff and Appellant.
              Morgan, Lewis & Bockius, Thomas M. Peterson and Mark W.
        Allen for Defendants and Respondents.
                                        __________________
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              Lorik Mikhaeilpoor (Mikhaeilpoor) appeals from the trial
        court’s order awarding her attorney fees following the trial of
        her action against BMW of North America LLC and Finchey
        Corporation of California (collectively, BMW) under the
        Song-Beverly Consumer Warranty Act (the Song-Beverly Act).
        (Civ. Code, § 1790 et seq.)1 Mikhaeilpoor sued BMW after she
        purchased a defective 2013 BMW 328i that BMW was unable to
        repair.

                   FACTUAL AND PROCEDURAL SUMMARY
              A.    Mikhaeilpoor’s Complaint
               On February 22, 2016, Mikhaeilpoor sued BMW and
        Finchey Corporation of California (erroneously named in
        the complaint as Pacific BMW), an auto dealership, asserting
        causes of action under the Song-Beverly Act stemming from
        her September 13, 2014 lease of the 2013 BMW 328i for
        which BMW had issued a warranty. Mikhaeilpoor alleged
        that defendants: (1) failed to promptly replace her car or make
        restitution, in violation of section 1793.2, subdivisions (a)(2)
        and (d)(1); (2) failed to commence repairs aimed at conforming the
        car to its warranty, in violation of section 1793.2, subdivision (b);
        (3) failed to make available service and repair facilities (including
        parts and literature) sufficient to effectuate repairs, in violation
        of section 1793.2, subdivision (a)(3); (4) breached the express
        warranty, as defined in section 1791.2, subdivision (a); and
        (5) breached the implied warranty of merchantability, as defined
        in section 1791.1. Plaintiff ’s complaint sought restitution, an
        award of actual damages, a civil penalty of two times actual
        damages and attorney fees and costs.

              1  Unless otherwise specified, subsequent statutory references
        are to the Civil Code.


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              B.    The Trial
              The trial commenced on February 21, 2018, and spanned
        six days. On February 28, 2018, the jury returned a special verdict
        in favor of Mikhaeilpoor. The jury awarded $35,805.08, comprised
        of $17,902.54 in compensatory damages and $17,902.54 in civil
        penalties.

              C.    Mikhaeilpoor’s Motion for Attorney Fees
               On June 8, 2018, Mikhaeilpoor filed a motion for
        attorney fees pursuant to section 1794, subdivision (d), seeking
        $344,639. This figure consisted of $226,426, plus a 0.5 multiplier
        enhancement (totaling $113,213), and $5,000 for addressing the
        attorney fee resolution process.
               The fee motion was accompanied by declarations from
        Payam Shahian, the managing attorney for Mikhaeilpoor’s
        trial counsel, and Christine Haw, lead trial counsel. Shahian’s
        declaration contained a bevy of information about his credentials
        and experience in unrelated Song-Beverly Act cases where his
        clients were awarded fees. Shahian’s declaration also included
        18 exhibits comprised of minute orders and notices of rulings on
        fee motions in unrelated cases; this despite the fact that no fees
        were billed for services by Shahian. Shahian’s declaration also
        identified 10 attorneys who worked on this case along with their
        proffered billing information: Gregory Yu ($495 per hour), Jacob
        Cutler ($385 per hour in 2016, $395 per hour in 2017, and $410
        per hour in 2018), Benjamin Beck ($400 per hour), Christine Haw
        ($365 per hour in 2017 and $375 per hour in 2018), Eleazar Kim
        ($350 per hour in 2017 and $370 hour in 2018), Yoon Kim (former
        attorney) ($365 per hour), Michael Robinson (former attorney)
        ($595 per hour), Heather Rodriguez (former attorney) ($325 per
        hour), Carey Wood ($370 per hour in 2017 and $375 per hour in



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        2018), Armig Khodanian (former attorney) ($325 per hour).
        Shahian’s declaration also attached a copy of the billing records
        for Mikhaeilpoor’s trial counsel.
               The fee motion was opposed because: the billing records
        vastly overstated the work performed; the hourly rates were
        excessive; and an 0.5 multiplier adjustment was unwarranted.
        The defense argued that fees should be reduced by at least
        $83,206.05, and the proffered hourly billing rates of $325 to $595
        were not based on market value.
               Mikhaeilpoor replied, defending the amounts claimed.
        Before hearing the motion, the trial court issued a tentative ruling
        awarding $94,864 in attorney fees: $95,900 less an offsetting
        amount owed to defendants.
               The court heard the motion on July 31, 2018. During
        argument, Judge Hammock explained that he “went through all
        the bills” and was “aghast” that counsel sought $343,000 in fees.
        He “saw the motions, the discovery motion,” and “the motion for
        terminating sanctions, which was much ado about nothing.” He
        found before him “a very simple case, straightforward trial,” and
        “not a complicated case.”
               In assessing fees, the court “looked at all the bills”
        and then “calculated what [it] thought was reasonable.” The
        court understood that it had the “ability to exercise [its] sound
        discretion,” but could not “do it arbitrarily.” The court emphasized
        that its analysis was not based on limiting plaintiff ’s fees to a
        proportion of the trial recovery; the court “recognize[d] that even
        though [the recovery] was [$]17,000, doubled to 34, this could
        justify a large attorney fee award.” Also, the court did not take
        into account whether plaintiff should have accepted a Code of Civil
        Procedure section 998 offer.
               The court found the requested fee amount “was just not
        reasonable.” The court “went through the bill and [it] decided what


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        [it] felt was a reasonable amount of hours for a reasonably
        experienced attorney, in similar circumstances, to do the tasks
        that [plaintiff ’s trial counsel] claim to have done. . . . [I]t added up
        to 225 hours.” The court decided that $350 “is a reasonable hourly
        rate for the services that were done.”
                During argument, plaintiff ’s counsel made two main
        arguments. First, counsel argued the court could not reduce
        plaintiff ’s requested fee amount by more than the $83,206.05
        reduction because that would constitute entertaining “objections
        not raised by [defendants].” Second, counsel argued that
        defendants had the burden to prove grounds for a fee reduction.
        The court took the matter under submission in order to review
        the billing records again. Ultimately, the court found that $95,900
        was the reasonable amount of attorney fees for work performed on
        behalf of Mikhaeilpoor. After offsetting certain fees and costs that
        had been awarded to defendants, the net amount of awarded fees
        totaled $94,864.

                              STANDARD OF REVIEW
               An award of attorney fees under the Song-Beverly Act
        is reviewed for abuse of discretion. (Goglin v. BMW of North
        America, LLC (2016) 4 Cal.App.5th 462, 470 (Goglin).) The
        reviewing court presumes that the trial court’s award is correct
        and infers that a request for fees is inflated when the trial court
        substantially reduces the requested amount. (Etcheson v. FCA
        US LLC (2018) 30 Cal.App.5th 831, 840.) These rules apply
        because the experienced trial judge is best positioned to evaluate
        the professional services rendered in his or her courtroom. (Ibid.,
        citing Goglin, supra, 4 Cal.App.5th at pp. 470–471.) The trial
        court’s decision must not be disturbed “ ‘unless [the Court of
        Appeal is] convinced that it is clearly wrong, meaning that it is
        an abuse of discretion.’ ” (Graciano v. Robinson Ford Sales, Inc.


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        (2006) 144 Cal.App.4th 140, 148 (Graciano), citing In re Vitamin
        Cases (2003) 110 Cal.App.4th 1041, 1052.) Accordingly, this
        court’s review of an order awarding attorney fees “must be highly
        deferential to the views of the trial court.” (Nichols v. City of Taft
        (2007) 155 Cal.App.4th 1233, 1239.) “ ‘The only proper basis of
        reversal of the amount of an attorney fees award is if the amount
        awarded is so large or small that it shocks the conscience and
        suggests that passion or prejudice influenced the determination.’ ”
        (In re Tobacco Cases I (2013) 216 Cal.App.4th 570, 587.)
               In particular, “the lodestar method vests the trial court
        with the discretion to decide which of the hours expended by the
        attorneys were ‘reasonably spent’ on the litigation” (Meister v.
        Regents of University of California (1998) 67 Cal.App.4th 437,
        449 (Meister)), and to determine the hourly rates that should
        be used in the lodestar calculus. (569 E. County Boulevard LLC
        v. Backcountry Against the Dump, Inc. (2016) 6 Cal.App.5th
        426, 436-437.) The methodology embodied in this language
        is consistent with California’s lodestar adjustment method of
        calculating attorney fees. (See Robertson v. Fleetwood Travel
        Trailers of California, Inc. (2006) 144 Cal.App.4th 785, 818
        (Robertson).) As the plain wording of section 1794, subdivision (d)
        makes clear, the trial court is “to base the fee award upon actual
        time expended on the case, as long as such fees are reasonably
        incurred—both from the standpoint of time spent and the amount
        charged.” (Robertson, supra, at p. 817.) In the case of contingency
        fee arrangements, “a prevailing buyer . . . is entitled to an award
        of reasonable attorney fees for time reasonably expended by his
        or her attorneys.” (Nightingale v. Hyundai Motor America (1994)
        31 Cal.App.4th 99, 105, fn. 6 (Nightingale), italics added.)
               Under the lodestar adjustment methodology, the trial court
        must initially determine the actual time expended and then
        “ascertain whether under all the circumstances of the case the


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        amount of actual time expended and the monetary charge being
        made for the time expended are reasonable.” (Nightingale, supra,
        31 Cal.App.4th at p. 104.) Factors to be considered include, but are
        not limited to, the complexity of the case and procedural demands,
        the attorney skill exhibited and the results achieved. (Ibid.) The
        prevailing party and fee applicant bears “the burden of showing
        that the fees incurred were . . . ‘reasonably necessary to the conduct
        of the litigation,’ and were ‘reasonable in amount.’ ” (Levy v. Toyota
        Motor Sales, U.S.A., Inc. (1992) 4 Cal.App.4th 807, 816; see Corbett
        v. Hayward Dodge, Inc. (2004) 119 Cal.App.4th 915, 926 [“[c]ourts
        have uniformly held that the party moving for statutory attorney
        fees or sanctions has the burden of proof ”].) It follows that if the
        prevailing party fails to meet this burden, and the court finds the
        time expended or amount charged is not reasonable under the
        circumstances, “then the court must take this into account and
        award attorney fees in a lesser amount.” (Nightingale, supra,
        31 Cal.App.4th at p. 104.)
               The amount of attorney fees awarded pursuant to the
        lodestar adjustment method may be increased or decreased. Such
        an adjustment is commonly referred to as a “fee enhancement”
        or “multiplier.” (Ketchum v. Moses (2001) 24 Cal.4th 1122, 1132
        (Ketchum).) The trial court is neither foreclosed from, nor required
        to, award a multiplier. (See Montgomery v. Bio-Med Specialties,
        Inc. (1986) 183 Cal.App.3d 1292, 1297 [“That figure may then be
        increased or reduced by the application of a multiplier after the
        court has taken into consideration other factors concerning the
        lawsuit”], citing Press v. Lucky Stores, Inc. (1983) 34 Cal.3d 311,
        321–324 (Press); see also Rey v. Madera Unified School Dist. (2012)
        203 Cal.App.4th 1223, 1242 [“the trial court is not required to
        include a fee enhancement for exceptional skill, novelty of the
        questions involved, or other factors. Rather, applying a multiplier
        is discretionary.”].) The Supreme Court has “set forth a number of


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        factors the trial court may consider in adjusting the lodestar figure.
        These include: ‘(1) the novelty and difficulty of the questions
        involved, and the skill displayed in presenting them; (2) the extent
        to which the nature of the litigation precluded other employment
        by the attorneys; [and] (3) the contingent nature of the fee award,
        both from the point of view of eventual victory on the merits and
        the point of view of establishing eligibility for an award.’ ” (Press,
        supra, at p. 322, fn. 12, italics omitted.)
               Mikhaeilpoor argues that the trial court’s ruling must be
        reversed because the court acted arbitrarily and failed to utilize the
        lodestar adjustment method to calculate reasonable attorney fees.
        The record belies this assertion.
               In finding that $95,900 was the reasonable amount of
        attorney fees in this case, the trial court expressly invoked the
        lodestar method. Despite the trial court’s clarity, Mikhaeilpoor
        mischaracterizes the analysis the court employed in order to create
        the illusion of error where there is none.
               Mikhaeilpoor claims that the trial court improperly applied
        “across-the-board” percentage reductions in the fees claimed
        because it found that only 274 of plaintiff ’s claimed 595 hours
        of work were reasonably incurred and that a reasonable hourly
        rate for these reduced hours was $350 per hour. But the record,
        viewed in the light most favorable to the trial court’s decision,
        does not show that the court made any “across-the-board”
        percentage reductions. Thus, plaintiff ’s reliance on the decision
        in Kerkeles v. City of San Jose (2015) 243 Cal.App.4th 88 (Kerkeles)
        and Mountjoy v. Bank of America, N.A. (2016) 245 Cal.App.4th
        266 (Mountjoy) is misplaced.
               Kerkeles concerned an appeal from an order awarding a
        plaintiff a fraction of the fees he requested following the settlement
        of his civil rights case. (See Kerkeles, supra, 243 Cal.App.4th at
        p. 92.) The plaintiff filed a motion seeking $1,448,397 in fees and


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        $75,255 in costs under section 1988 of title 42 of the United States
        Code and Code of Civil Procedure section 1021.5. (Kerkeles, supra,
        at p. 94.) This figure was based on 2,419.9 in attorney hours, with
        billable rates ranging from $425 to $650 per hour. (Ibid.) Plaintiff
        also requested a 1.5 multiplier to the lodestar amount. (Ibid.)
        The total amount requested was $2,350,848. (Ibid.) In response,
        defense counsel urged “a 50 percent reduction of the total lodestar
        amount.” (Id. at pp. 95–96.) The trial court calculated the lodestar
        amount by multiplying the hourly rates by the full number of hours
        claimed, reaching a total of $873,615. The court then reduced the
        total lodestar by 50 percent, yielding $436,807.50 in attorney fees.
        (Id. at p. 97.)
               In reversing, the appellate court deemed inadequate the
        trial court’s explanation for its fee reduction. (Kerkeles, supra,
        243 Cal.App.4th at pp. 101–102.) The Court of Appeal noted that
        while trial courts may make “ ‘across-the-board percentage cuts
        either in the number of hours claimed or in the final lodestar
        figure,’ ” they must set forth a “ ‘concise but clear’ explanation of
        reasons for choosing a given percentage reduction.” (Id. at p. 102.)
        In lieu of that, the trial court in Kerkeles had simply explained that
        the plaintiff ’s attorneys “expended far more time than a reasonable
        attorney could ever bill a paying client for.” (Id. at p. 101.) Such
        reasoning did “not meet the federal criterion of a clear and specific
        explanation sufficient for meaningful appellate review.” (Id. at
        p. 104.)
               Similarly, in Mountjoy, the trial court awarded $59,334.60 in
        fees after the moving party sought $308,425, based on 760.70 hours
        of work billed at hourly rates ranging from $200 to $450. (Mountjoy,
        supra, 245 Cal.App.4th at p. 269.) In reducing the fees sought,
        the trial court explained: “ ‘Approximately half of [the Mountjoys’]
        pleading[s] amounted to unnecessary general legal argument
        warranting a reduction in the time it took to prepare that filing.


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        Approximately half of [the] “facts” [the Mountjoys] crafted in
        [o]pposition to the summary judgment motion . . . were improper.
        Perhaps most critically, well over 70% of the billing entries fall
        into one or more of the following categories: prohibitively vague
        “block billing,” excessive time spent on the stated task (including
        but not limited to drafting the complaint and opposition to
        summary judgment motion and document review tasks discussed
        above), double billing where two attorneys completed the same
        task, attorney fees for non-attorney work, fees for filings that did
        not actually occur in this case, and fees for otherwise unreasonable
        tasks. [¶] In light of the foregoing and the other various reasons
        stated in [d]efendants’ [o]pposition, the [c]ourt in its discretion
        reduces [the Mountjoys’] requested “hours worked” by 70% . . .
        to a more reasonable total of 228.21.’ ” (Id. at pp. 270–271.)
               The Court of Appeal reversed, explaining that the trial
        court “determined that because well over 70 percent of the billing
        entries suffered from one or more flaws, it was appropriate to
        simply reduce the total hours claimed by 70 percent.” (Mountjoy,
        supra, 245 Cal.App.4th at p. 281.) This approach was flawed
        because there did not appear to be any “reasonable basis for the
        conclusion that the total hours included in the 70 percent-plus time
        entries that were flawed in one or more ways was even reasonably
        close to 70 percent of the total time claimed.” (Ibid.) For example,
        the flawed time entries may have only amounted to 50 percent
        of the total hours claimed; it was unclear whether the number
        of flawed billing entries were equivalent to the number of flawed
        hours. (Ibid.)
               In contrast to Kerkeles and Mountjoy, the court here did not
        make an “across-the-board” percentage reduction of the attorney
        fees claimed. Rather, the court explained that its reduction
        resulted because the fees claimed “include[ed] dual billing of
        attorneys when the work of only one (at times) was reasonably


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        required” and trial counsel spent time on tasks that “should
        not have required anything more than [a] slight factual
        modification to [an] existing boilerplate.” Plaintiff ’s counsel
        spent an unreasonably excessive amount of time dealing with
        this non-complex case. Thus, the trial court did not apply an
        arbitrary percentage (as in Kerkeles) or use flawed logic (as
        in Mountjoy). To the contrary, the court “went through the
        bill” multiple times and “decided what [it] felt was a reasonable
        amount of hours for a reasonably experienced attorney, in similar
        circumstances, to do the tasks that they claim to have done. . . .
        [I]t added up to 225 hours.”
               Dissatisfied with this explanation, Mikhaeilpoor
        questions how the trial court decided on the billing entries
        subject to reduction. Plaintiff would impose on the trial court
        the requirement of detailed explanatory orders. But this very
        same argument was rejected in Mountjoy, where the plaintiff
        faulted the court’s explanation of its fee reduction because it
        “ ‘did not break out how many hours it thought were devoted
        to double billing the same tasks, work on non-attorney tasks,
        excessive billing for working on the complaint or summary
        judgment opposition, or work on documents that were not filed.’ ”
        (Mountjoy, supra, 245 Cal.App.4th at p. 280.)
               Mikhaeilpoor also relies on Moreno v. City of Sacramento
        (9th Cir. 2008) 534 F.3d 1106 (Moreno) to support her claim that
        the trial court inadequately explained “which tasks were cut
        or reduced and why.” Moreno, however, is not binding on this
        court and it is distinguishable. (Wagner v. Apex Marine Ship
        Management Corp. (2000) 83 Cal.App.4th 1444, 1451 [indicating
        that federal decisions are persuasive rather than binding
        authority].) In Moreno, the plaintiff prevailed in a federal
        civil rights action and the district court imposed percentage
        reductions on plaintiff ’s requested fees. (Moreno, supra, 534 F.3d


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        at pp. 1112-1116.) The Ninth Circuit Court of Appeals reversed.
        The federal district court did not identify those fees it thought
        duplicative or why it cut the costs claimed for trial preparation.
        (Ibid.) But Moreno is not based on principles applied in California,
        where trial courts are not required to state “each charge they find
        to be reasonable or unreasonable, necessary or unnecessary. . . .
        A reduced award might be fully justified by a general observation
        that an attorney over[-]litigated a case.” (Gorman v. Tassajara
        Development Corp. (2009) 178 Cal.App.4th 44, 101; see also
        Ketchum, supra, 24 Cal.4th at p. 1140 [“The superior court was
        not required to issue a statement of decision with regard to the fee
        award.”].) This view was recently reaffirmed in Morris v. Hyundai
        Motor America (2019) 41 Cal.App.5th 24, 37, footnote 6 (Morris),
        where the court explained that such a heightened standard of
        requiring courts to explain fee determinations is not appropriate
        “for appellate review of fee awards under the Song-Beverly Act.”
        (Ibid.)
               Mikhaeilpoor claims the trial court improperly tied the fee
        award to plaintiff ’s modest amount of recovered damages. But the
        trial court disclaimed tying the amount of fees to the damages and
        the record, viewed in the light most favorable to the trial court, does
        not show that the court tied “the fee award to some proportion” of
        the damages award. (Warren v. Kia Motors America, Inc. (2018)
        30 Cal.App.5th 24, 37 (Warren).)
               “[I]t is inappropriate and an abuse of a trial court’s discretion
        to tie an attorney fee award to the amount of the prevailing
        [buyer’s] damages or recovery in a Song-Beverly Act action, or
        pursuant to another consumer protection statute with a mandatory
        fee-shifting provision.” (Warren, supra, 30 Cal.App.5th at p. 37.) If
        the reasons for the reduction “include tying the fee award to some
        proportion of the buyer’s damages recovery, the court abuses its
        discretion.” (Ibid.) But the two cases plaintiff invokes, Graciano,


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        supra, 144 Cal.App.4th at page 140 and Warren, supra,
        30 Cal.App.5th at page 37, help demonstrate that the court
        here committed no error.
               Graciano concerned a plaintiff ’s appeal from an order
        awarding her attorney fees following her post-verdict settlement
        with the defendant. (Graciano, supra, 14 Cal.App.4th at p. 145.)
        The trial court awarded $27,570; $235,000 in fees had been
        requested. (Ibid.) The trial court set the reasonable hourly rate
        at $250 per hour, which was based on a local rule setting hourly
        rates for expert witnesses, and applied that rate to the 367.6 hours
        of legal services expended by the plaintiff ’s attorneys. (Id. at
        p. 148.) After calculating the lodestar at $91,900, the court applied
        several multipliers, including a .3 negative multiplier “ ‘ “to ensure
        the fee awarded is within the range of fees freely negotiated in
        the legal market place.” ’ ” (Ibid.) As relevant here, the trial court
        explicitly tied its fee award to the plaintiff ’s damages recovery,
        reasoning: “ ‘[T]he settlement amount for the [p]laintiff was
        $45,000 plus whatever fees, if any, the court might award. It is
        not uncommon for contingent fee agreements to require [p]laintiff
        to pay forty percent (more or less) of the recovery through trial
        to his/her counsel. If $45,000 represents [p]laintiff ’s sixty percent
        portion of the total settlement, then the forty percent fee portion,
        would be $30,000 ($75,000 x .40). In order to adjust the lodestar
        amount of $91,900 “to ensure the fee awarded is within the range
        of fees freely negotiated in the legal market place[,”] a “.30” factor
        should be applied. $91,900 times 3 yields $27,570, which amount
        is within the market place range of fees.’ ” (Id. at p. 162.) Under
        this rationale, the Court of Appeal perceived an improper
        downward adjustment based on the trial court’s notion of an
        appropriate contingent fee percentage. (Id. at p. 164.)
               In Warren, the trial court applied a 33 percent negative
        multiplier to plaintiff ’s requested lodestar fees. (Warren, supra,


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        30 Cal.App.5th at p. 24.) The court noted “ ‘a disconnect’ between
        the verdict amount of ‘$17,000’ and the over $500,000 in requested
        attorney fees.” (Id. at p. 33.) The appellate court concluded that
        the negative multiplier was applied “with at least the partial goal
        of arriving at an attorney fee award that was roughly proportional
        to or more in line with [the plaintiff ’s] modest $17,455.57 damages
        award.” (Id. at p. 39.)
               Here by contrast, the trial court did not expressly or implicitly
        base any portion of its fee calculation on plaintiff ’s damage
        recovery. Unlike the situation in Graciano, the trial court here did
        not calculate the amount of fees using a methodology that ensured
        the fee and damages awards were proportional; accorded with a
        market-rate contingency agreement, or created a relationship to the
        damages awarded. Instead, the trial court “went through the bill
        and [it] decided what [it] felt was a reasonable amount of hours for
        a reasonably experienced attorney, in similar circumstances, to do
        the tasks that [plaintiff ’s trial counsel] claim to have done. . . . [I]t
        added up to 225 hours.”
               Warren is similarly distinguishable. Here, unlike in Warren,
        the trial court was concerned because the $344,639 was shockingly
        unreasonable, irrespective of the damages awarded. And, of course,
        the court here unequivocally disclaimed tying the fee award to
        the verdict amount because it “recognize[d] that even though [the
        recovery] was [$]17,000 doubled to 34, this could justify a large
        attorney fee award.”
               Also, instructive here is Morris, supra, 41 Cal.App.5th at
        page 24, where the court affirmed an order reducing requested
        fees by more than 40 percent in a Song-Beverly Act case. In
        Morris, the trial court reduced plaintiff ’s requested fees by
        42 percent—from $191,688.75 to $73,864. On appeal, plaintiff
        argued—as Mikhaeilpoor does here—that the “trial court engaged
        in a prohibited proportionality analysis in setting the attorney fee


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        award.” (Id. at p. 35.) To support that claim, the plaintiff relied
        on selective portions of the hearing transcript where the trial
        judge stated, “ ‘So this is [a request for] $192,000 for a case that
        you settled for $85,000 and didn’t go to trial. Don’t you think
        that just on its face, that’s a little much.’ ” (Ibid.) According to
        the plaintiff, the trial court “slashed the requested award by more
        than 42 percent, to $73,864, to render the award ‘more in proportion
        to the $85,000 damages.’ ” (Ibid.)
               The Court of Appeal disagreed, explaining that the trial
        court “did not suggest in any respect that the court reduced the
        attorney fee award based on the size of the settlement award.”
        (Morris, supra, 41 Cal.App.5th at p. 37.) To the contrary, the
        court “indicated a fee reduction was warranted because it was
        unreasonable to have so many lawyers staffing a [Song-Beverly
        Act] case that did not present complex or unique issues, did not
        involve discovery motions, and did not go to trial.” (Ibid.)
               Here, as in Morris, there is no indication that the trial
        court reduced fees based on the amount of damages awarded to
        plaintiff. Rather, the court said a reduction of the requested fees
        was warranted because: Plaintiff sought fees that “include[d]
        dual billing of attorneys when the work of only one (at times)
        was reasonably required”; her trial counsel spent time working on
        tasks that “should not have required anything more than [a] slight
        factual modification to [an] existing boilerplate”; and—overall—an
        unreasonably excessive amount of time was spent on a noncomplex
        matter. Additionally, the trial court “went through the bill and
        [it] decided what [it] felt was a reasonable amount of hours for a
        reasonably experienced attorney, in similar circumstances, to do
        the tasks that [plaintiff ’s trial counsel] claim to have done. . . .
        [I]t added up to 225 hours.” The court did not engage in any
        proportionality analysis when it determined that $95,900 was
        the reasonable amount of attorney fees for the work performed.


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        Mikhaeilpoor claims the trial court based its fee award on an
        improper impressionistic basis.
               In Morris, supra, 41 Cal.App.5th at page 37, the trial court
        stated during a fee motion hearing that the total proposed fee
        sought by the plaintiff was “ ‘a little much’ considering the case
        settled for $85,000 and did not go to trial.” (Ibid.) On appeal,
        plaintiff argued the court’s statement “betrayed that at least one
        of the court’s intentions in reducing the fee award was to bring it
        more in line with the settlement amount.” (Ibid.) Morris rejected
        the plaintiff ’s argument that such trial court statements disclosed
        an alternate, prohibited motive for reducing plaintiff ’s proposed
        attorney fees.
               Morris contends that, as in Warren, the trial court’s
        comments during the hearing—suggesting that the total proposed
        fee was “a little much” considering the case settled for $85,000
        and did not go to trial—betrayed that at least one of the court’s
        intentions in reducing the fee award was to bring it more in line
        with the settlement amount. Given the court’s clear expression
        in its final order of its reasons for the reductions, we will not
        speculate, based on a stray remark the court made at the hearing,
        that it had other, prohibited reasons that would require reversal.
        (See Key v. Tyler (2019) 34 Cal.App.5th 505, 539, fn. 16 [holding
        the court’s “oral comments were not final findings and cannot
        impeach the court’s subsequent written ruling”]; Jespersen v.
        Zubiate-Beauchamp (2003) 114 Cal.App.4th 624, 633 [“a judge’s
        comments in oral argument may never be used to impeach the final
        order, however valuable to illustrate the court’s theory they might
        be under some circumstances”].)
               Mikhaeilpoor contends that the trial court impermissibly
        reduced fees below the level defendants proposed. Plaintiff argues
        “[a]ny objections to the fees and rates requested not made by BMW



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        should have been deemed waived by the trial court.” This argument
        is meritless.
               At the outset, defense counsel did not limit its request
        to reduce plaintiff ’s requested fees by only $83,206.05 as
        Mikhaeilpoor erroneously represents. Rather, defendants argued
        that plaintiff ’s fees should be reduced by at least $83,206.05. As
        such, Mikhaeilpoor’s argument that the trial court reduced her fees
        below the level defendants proposed is based on a false premise.
               To support its position that the trial court cannot reduce fees
        absent—or below the non-moving party’s specific objection, plaintiff
        cites Blum v. Stenson (1984) 465 U.S. 886, 892, fn. 5, a federal
        case concerning fees in a federal civil rights action. In Blum, the
        defendant waived its challenge to a district court determination
        of reasonable hours billed by failing to submit any evidence
        challenging the accuracy and reasonableness of the hours charged.
        (Ibid.) In contrast to Blum, defendants here are not challenging the
        trial court’s decision but showing it was not an abuse of discretion.
        And defendants did not waive any challenge to the fee award.
        Rather, defendants challenged fees in the trial court on grounds the
        trial court found applicable.
               The extent of a court’s discretion to unilaterally reduce
        fees is also apparent in Morris. There, appellant argued that fees
        were arbitrarily reduced in those circumstances where particular
        fee amounts claimed were not the subject of defense objections.
        (Morris, supra, 41 Cal.App.5th at pp. 38–39.) Notwithstanding
        this argument, Morris was “satisfied that the trial court did not
        abuse its broad discretion to determine the reasonable value of
        the professional services performed by the [appellant’s] attorneys.”
        (Id. at p. 40.)
               Mikhaeilpoor also claims that the trial court abused its
        discretion by failing to award a multiplier. The argument rests
        on some of the same unmeritorious arguments advanced with


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        regard to the trial court’s reduced lodestar award. There was no
        abuse of discretion.
               While the court’s rationale for the lodestar reduction also
        influenced the denial of a multiplier, the court went further as to
        the multiplier issue, emphasizing that this was “not a complicated
        case,” and the “request for a multiplier was specious.” These
        findings weigh on the issue of the “ ‘novelty and difficulty of the
        questions involved,’ ” which is a factor that trial courts may
        consider when a multiplier is requested. (Press, supra, 34 Cal.3d
        at p. 322, fn. 12.) This factor is separate from the trial court’s
        finding that plaintiff ’s counsel litigated the case inefficiently.
        Moreover, even though the trial court did not specifically mention
        other factors open to consideration when a multiplier is under
        consideration, this court must presume that the trial court
        considered all factors in reaching its decision, “even though the
        court may not have mentioned or discussed them in its written
        ruling.” (Mountjoy, supra, 245 Cal.App.4th at p. 277.)
               Mikhaeilpoor argues that the attorney fee award is not
        supported by the evidence. This claim has no merit. The court has
        no authority to disturb the trial court’s factual findings if they are
        supported by substantial evidence. (Meister, supra, 67 Cal.App.4th
        at p. 453.) Here, substantial evidence amply supports the trial
        court’s fee award because the record demonstrates the relative
        simplicity of plaintiff ’s lawsuit and the inefficiency of her counsel’s
        litigation activities.
               The case concerned the simple issue of a purported engine
        defect in plaintiff ’s vehicle that was—in plaintiff ’s view—not fixed
        after multiple attempts. To prevail, plaintiff ’s attorneys were only
        required to establish that their client purchased the vehicle, that
        it had a written warranty, that the vehicle had a defect, and that
        the vehicle was not repaired or replaced after the manufacturer
        had a reasonable opportunity to do so. (CACI No. 3201.) Plaintiff


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        was under no obligation to establish the cause of the purported
        defect. (Ibid.; see Oregel v. American Isuzu Motors, Inc. (2001)
        90 Cal.App.4th 1094, 1102, fn. 8 [rejecting manufacturer’s claim
        that plaintiff buyer was required to prove cause of leak to establish
        remedy under the Song-Beverly Act].) What follows is the trial
        court’s altogether warranted conclusion that this was a noncomplex
        case. The record shows that Mikhaeilpoor filed one discovery
        motion, propounded a single set of discovery, took three depositions
        (Jose Conde, defendants’ person most qualified; and Luis Holguin,
        defendants’ expert), and retained the services of a single expert,
        Dan Calef. These were modest litigation efforts.
               Additionally, the record demonstrates the highly inefficient
        manner in which plaintiff litigated her case. Plaintiff ’s trial
        counsel claims “extensive experience with claims brought under the
        Song-Beverly [Act].” Payam Shahian, the senior attorney among
        plaintiff ’s trial counsel, supervises the other attorneys in his firm,
        but does not “materially” get involved “unless they involve complex
        legal issues, reach significant stages of litigation, or require [his]
        assistance.” (Italics added.) Shahian did not bill time to this case,
        confirming the case did not involve complex legal issues. Yet,
        despite counsel’s experience litigating “hundreds of automotive
        defect cases involving California’s consumer protection statutes,
        including Song-Beverly,” an astonishing array of 10 different
        attorneys litigated this case, with multiple attorneys staffed at
        different times. Further, counsel’s billing entries demonstrate a
        lack of efficiency in litigating the case and a lack of clarity in tasks
        performed. This evidence supports the trial court’s finding that
        plaintiff ’s counsel failed to act efficiently.
               Similarly, plaintiff ’s lead counsel, Christine Haw, had
        experience with Song-Beverly Act claims. Plaintiff sought hourly
        rates of $365 and $375 for Haw, but acknowledged that similar or
        more experienced attorneys had previously been awarded hourly


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        billable rates of $345 and $350. As such, the trial court’s award
        of a $350 hourly billable rate is supported by substantial evidence.
        Additionally, at the time of the hearing on the fee motion, Haw
        had been an attorney for approximately five years and had litigated
        “hundreds of automotive defect cases involving [the] Song-Beverly
        [Act].” Notwithstanding, the court reasonably found that Haw did
        not leverage her experience to produce efficient litigation. Haw
        personally billed more than 240 hours, and required the help of
        nine other attorneys at various points in the litigation.
               Ultimately, the trial court was in the best position to
        evaluate the professional services rendered before it. (Ketchum,
        supra, 24 Cal.4th at p. 1132.) The court’s decision is supported
        by substantial evidence. There was no abuse of discretion.




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                               DISPOSITION
             The order awarding fees is affirmed. Respondents are
        awarded their costs on appeal.




                                                 WHITE, J.*
        We concur.




                         ROTHSCHILD, P. J.




                         CHANEY, J.




              * Judge of the Los Angeles Superior Court, assigned by the
        Chief Justice pursuant to article VI, section 6 of the California
        Constitution.


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        Filed 4/24/20
                        CERTIFIED FOR PUBLICATION


        IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                          SECOND APPELLATE DISTRICT

                                     DIVISION ONE

        LORIK MIKHAEILPOOR,                               B293987

               Plaintiff and Appellant,                   (Los Angeles County
                                                          Super. Ct. No. BC611197)
               v.
                                                          CERTIFICATION AND
        BMW OF NORTH AMERICA, LLC,                        ORDER FOR PUBLICATION
        et al.,

               Defendants and Respondents.




        THE COURT:
              The opinion in the above-entitled matter filed on April 1,
        2020, was not certified for publication in the Official Reports. For
        good cause, it now appears that the opinion should be published
        in the Official Reports and it is so ordered.



        ____________________________________________________________
        ROTHSCHILD, P. J.          CHANEY, J.          WHITE, J.*


               *
                 Judge of the Los Angeles Superior Court, assigned by the Chief
        Justice pursuant to article VI, section 6 of the California Constitution.
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                   EXHIBIT E
          TO REQUEST FOR JUDICIAL NOTICE
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         Lehrman Law Group
              OCT 01 2018                  Final Ruling                             ,>/*%               "^
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                RECEIVS^e Randolph M. Hammock, Department 47 '                                   ^

  HEARING DATE:           July 31, 2018                 VERDICT February 28, 2018


  CASE:                  Lorik Mikhaeilpoor v. BMW of North America, LLC, et aL
                                                  aei———— i   i   —   —   mi   i—




  CASE NO.:              BC611197




     (1) MOTION FOR AN ORDER TO HAVE MEMORANDUM OF COSTS DEEMED
                                          TIMELY FILED;
                                   (2) MOTION TO TAX COSTS;
                        (3) MOTION FOR PREJUDGMENT INTEREST;
                             (4) MOTION FOR ATTORNEY'S FEES



  MOVING PARTY:                  (1) Plaintiff Lorik Mikhaeilpoor;
                                 (2) Defendants BMW of North America, LLC and Pacific BMW;
                                 (3) Plaintiff Lorik Mikhaeilpoor;
                                 (4) Plaintiff Lorik Mikhaeilpoor


  RESPONDING PARTY(S): (1) Defendants BMW of North America, LLC and Pacific BMW;
                                 (2) Plaintiff Lorik Mikhaeilpoor;
                                 (3) Defendants BMW of North America, LLC and Pacific BMW;
                                 (4) Defendants BMW of North America, LLC and Pacific BMW



  STATEMENT OF MATERIAL FACTS AND/OR PROCEEDINGS:

          Plaintiff alleges that the vehicle leased contains engine defects and Defendants have
  failed to repair the vehicle to conform to warranties after a reasonable number of opportunities.

         Plaintiff moves for an order to have memorandum of costs deemed timely filed, as well
  as motions for prejudgment interest and for attorney's fees.

          Defendant moves to tax costs.
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  FINAL RULING:


           Plaintiff Lorik Mikhaeilpoor's motion for an order to deem memorandum of costs timely
  filed is GRANTED. Defendants' request that the Court order Plaintiff to pay Defendants'
  attorney's fees and costs associated with opposing this application pursuant to CCP § 473(b) is
  GRANTED IN PART.


          Defendants BMW of North America, LLC and Pacific BMW's motion to tax costs is
  DENIED as to the entire memorandum of costs, DENIED as to Item 1 ; GRANTED as to Item 5
  in the amount of $38.75; DENIED as to Item 8; GRANTED as to Item 1 1 in the amount of
  $2,772.23; GRANTED as to Item 12 in the amount of $65.52; and GRANTED as to Item 16 in
  the amount of $1,382.27.

          Plaintiffs motion for prejudgment interest pursuant to Civil Code § 3287(a) or, in the
  alternative, Civil Code § 3287(b) is GRANTED IN PART. As explained infra, the total amount
  of prejudgment interest awarded is $4,335.78.

            Plaintiffs motion for attorney's fees is GRANTED in total amount of $95,900.00 which
  the Court finds to be the reasonable amount of attorney's fees for work performed on behalf of
  Plaintiff in this entire case. Applying the offset of Defendants' attorney's fees and costs awarded
  herein, the total net amount of attorney's fees is $94,864.00.


  DISCUSSION:


  Motion for Order To Deein Memorandum of Costs Timely Filed


  Plaintiffs Evidentiary Objections

            Declaration of Erin Tallent


          The Court declines to rule on Plaintiffs evidentiary objections to the Declaration of Erin
  Tallent in opposition to the motion, as the Court did not consider this Declaration in ruling on the
  motion.


  Analysis

         Plaintiff moves for an order to have memorandum of costs deemed timely filed.

         (a) Claiming costs


         (1) Trial costs. A prevailing party who claims costs must serve and file a
         memorandum of costs within 1 5 days after the date of service of the notice of
         entry ofjudgment or dismissal by the clerk under Code of Civil Procedure section
         664.5 or the date of service of written notice of entry ofjudgment or dismissal, or
         within 180 days after entry ofjudgment, whichever is first. The memorandum of



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           costs must be verified by a statement of the party, attorney, or agent that to the
           best of his or her knowledge the items of cost are correct and were necessarily
           incurred in the case.



            (b) Contesting costs




           (3) Extensions of time The party claiming costs and the party contesting costs
           may agree to extend the time for serving and filing the cost memorandum and a
           motion to strike or tax costs. This agreement must be confirmed in writing,
           specify the extended date for service, and be filed with the clerk. In the absence of
           an agreement, the court may extend the times for serving and filing the cost
           memorandum or the notice of motion to strike or tax costs for a period not to
           exceed 30 days.
                                                                                                                              t1
      CRC Rule 3.1700(a).


           The Declaration of Christine Haw indicates that the memorandum of costs was due May
   10, 2018, that it was sent out for filing on April 25, 2018, but the attorney service employee did
  not file and serve Plaintiffs memorandum of costs. This was not discovered until shortly before
  the ex parte application for relief was filed on May 24, 2018. The memorandum of costs was
  sent out for filing and personal service on May 23, 201 8. As such, the memorandum of costs
  was filed and served about 2 weeks after the deadline had passed.

           "[TJime limitations pertaining to a memorandum of costs are not jurisdictional." Haley
  v. Casa Del Rev Homeowners Assn. (2007) 153 Cal.App.4th 863, 880. In Cardinal Health 30 E
  Inc. v. Tyco Electronics Corp. (2008) 169 Cal.App.4th 1 16, 155, the Court of Appeal found that
  the trial court had "implicitly" granted plaintiff a two-week extension to file the memorandum of
  costs, which rendered the memorandum of costs timely-filed.

         In this case, though, the Plaintiff has not made such a request (implicit or otherwise)
  under CRC Rule 3.1 700(a)(3). Plaintiff appears to rely solely upon the mandatory relief
  provisions of CCP § 473(b), based upon attorney's (or more specifically - the attorney service
  company's) "inadvertence," "mistake" and "oversight." See, Declaration of Christine Haw in
  Support of Plaintiff s Memorandum of Costs, para. 5. Accordingly, the requested relief is
  mandatory. 1

           The motion for an order to have Plaintiffs memorandum of costs deemed timely filed is
  GRANTED.




  1 Alternatively, if somehow the requested relief is discretionary, this Court exercises its sound discretion to grant the
  requested relief based upon the totality of the circumstances, including the fact that the Defendant has not
  persuasively demonstrated that it suffered undue prejudice from the untimely filing and service.



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         Defendant's request that the Court order Plaintiff to pay Defendants' attorney's fees and
  costs associated with opposing this application pursuant to CCP § 473(b) is GRANTED IN
  PART. The Court will award the Defendants' requested fees and costs, per the mandatory relief
  provisions of CCP § 473(b), as follows: (1) $1,018 in attorney's fees, plus $18 in parking costs
  in attending the ex parte; and (2) Plaintiff will not be awarded any fees or costs in preparing
  said ex parte application. The former shall be utilized as an offset for the net award of attorney's
  fees and costs, discussed infra.



  Motion to Tax Costs


  Plaintiff's Evidentiary Objections

         Declaration of Erin Tallent


  Nos. 1-21: OVERRULED.


  Analysis


         For the reasons discussed above, the request to strike the entire cost bill as untimely is
                                                                                                         j*
  DENIED.


         The Song-Beverly Consumer Warranty Act provides for the recovery by a prevailing
  buyer of "the aggregate amount of costs and expenses . . . reasonably incurred by the buyer."

         (d) If the buyer prevails in an action under this section, the buyer shall be allowed
         by the court to recover as part of the judgment a sum equal to the aggregate
         amount of costs and expenses, including attorney's fees based on actual time
         expended, determined by the court to have been reasonably incurred by the buyer
         in connection with the commencement and prosecution of such action.


     Civ. Code, § 1794(d).



         Following trial, Jensen submitted a cost bill which included expert witness fees in
         the amount of $2,527. The court denied expert witness fees on the ground Code
         of Civil Procedure section 1033.5 does not provide for an award of such fees.
         We independently review the trial court's interpretation of section 1794,
         subdivision (d) (9 Witkin, Cal. Procedure, supra, Appeal, § 241 and 242, pp. 246-
         247), and conclude the court erred in denying Jensen's expert witness fees.


         Code of Civil Procedure section 1033.5 defines items allowable as "costs." The
         statute expressly excludes "[f]ees of experts not ordered by the court" " except
         when expressly authorized by law." (Code Civ. Proc., § 1033.5, subd. (b)(1),
         italics added.)




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         Section 1794, subdivision (d), permits the prevailing buyer to recover both "costs"
         and "expenses." Examining the language of the statute (Halbert's Lumber, Inc. v.
         Lucky Stores, Inc., supra, 6 Cal. App. 4th at p. 1238), it is clear the Legislature
         intended the word "expenses" to cover items not included in the detailed
         statutory definition of "costs." However, because the scope of the term
         "expenses" is uncertain, we turn to legislative history for clues about the
         Legislature's intent. {Ibid.)


         The Legislature added the "costs and expenses" language to section 1794 in 1978.
         (Stats. 1978, ch. 991, § 10, p. 3065.) An analysis by the Assembly Committee on
         Labor, Employment, and Consumer Affairs states: "Indigent consumers are often             *
         discouraged from seeking legal redress due to court costs. The addition of awards
         of 'costs and expenses' by the court to the consumer to cover such out-of-pocket          ll
         expenses as filing fees, expert witness fees, marshall's fees, etc., should open
         the litigation process to everyone." (Assem. Com. on Labor, Employment &
         Consumer Affairs, Analysis of Assem. Bill No. 3374 (May 24, 1978) p. 2.)

         In Ripley v. Pappadopoulos (1994) 23 Cal. App. 4th 1616 [28 Cal. Rptr. 2d 878],
         we stated that the "Legislature has reserved to itself the power to determine
         selectively the types of actions and circumstances in which expert witness
         fees should be recoverable as costs and such fees may not otherwise be recovered
         in a cost award." {Id. at p. 1625.) In this case, the Legislature amended section
         1794 to provide for the recovery of "costs and expenses." The legislative history
         indicates the Legislature exercised its power to permit the recovery of expert
         witness fees by prevailing buyers under the Act and within the meaning of Ripley.

         The trial court denied Jensen's request for expert witness fees based on the legal
         determination those fees were barred by Code of Civil Procedure section 1033.5.
         For this reason, we remand the case to permit the court to determine whether the
         amount of fees sought by Jensen were "reasonably incurred by the buyer in
         connection with the commencement and prosecution of [this] action." (§
         1794, subd. (d).)


     Jensen v. BMW of North America, Inc. (1995) 35 Cal.App.4th 1 12, 137-38 (bold emphasis
     added).


          Here, Plaintiff alleges only Song-Beverly causes of action. Because Plaintiff obtain
  judgment of $35,805 in his favor, she is the prevailing buyer entitled to costs and expenses,
   reasonably incurred in connection with the commencement and prosecution of this action. Civil
  Code § 1794(d).


         Item 1 (Filing Fees).


         Defendant seeks to tax $180 for improper and unnecessary filing fees.

                                                                                                       I

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         Here, the Court finds that all filing and motion fees reflected in the Memorandum of
  Costs Worksheet for Item 1 and Attachment lg were reasonably incurred "expenses" in
  connection with the commencement and prosecution of this action. These costs will be allowed.

            The motion to strike Item 1 is DENIED.

            Item 5 CService of Process).

            Defendant seeks to tax $2,196.72 for service of documents other than process on                           4
  defendant.

                                                                                                                     4**
                                                                                                                     fpi
           The Court finds that all services fees, including those for civil subpoenas and for the
  filing fees of the motion for prejudgment interest and motion for attorney's fees actually filed
  and to be heard concurrently with this motion, reflected in the Memorandum of Costs Worksheet
  for Item 5 and Attachment 5d were reasonably incurred "expenses" in connection with the
  commencement and prosecution of this action. However, the Court agrees with Defendant that
  the total amount of costs should be $2,157.97, not $2,196.72.

            The motion to strike Item 5 is GRANTED in the amount of $38.75.

            Item 8 (Witness Fees).


            Defendant seeks to tax $3,021.20 for "uncertain and unsubstantiated expert witness
                                                                                                                      1
  costs."                                                                                                             t
          The Court finds that the expert fees, reflected in the Memorandum of Costs Worksheet
  for Item 8 (Dan Calef), and Exh. 6 to the Declaration of Jacob Cutler, were reasonably incurred
  "expenses" in connection with the commencement and prosecution of this action.

            The motion to strike Item 8 is DENIED.

            Item 1 1 (Court reporter fees as established by statute).


            Defendant seeks to tax $16,105.64 for transcripts of proceedings not ordered by the
  Court.2 Here, although the expenses of transcripts are reasonable where incurred in connection
  with certain hearings on motions, the Court finds that fees for reporters/travel at ex partes and
  status conferences, and transcripts thereof, are not reasonable. See Memorandum of Costs
  Worksheet at 12 and Attachment 12c. As such, those expenses will be disallowed in the total
                                                                                                                      'H
  amount of $2,772.23.


            The motion to tax Item 1 1 is GRANTED in the amount of $2,772.23.




                                                                                                                v.
  2
            Since there was no discussion by either side on the potential impact of the recent decision in Burd
  Barklev Court Reporters. Inc. (1 1/29/17) 17 Cal.App.5th 1037, this Court will not address those issues.



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           Item 12 (Models, enlargements, and photocopies of exhibits).

           Defendant seeks to tax $1,840.59 for photocopies other than exhibits.

                                                                                                   in
          The Court finds that the expenses for copying, scanning, exhibits and binders, reflected
                                                                                      in connect ion
  Attachment 1 1 to the Memorandum of Costs Worksheet were reasonably incurred
                                                   action, except for the costs of Copying  and
  with the commencement and prosecution of this
                                                                           ic Bates Labeling ; Doc
  Printing Velo-Unbind and Rebinding ($18.01) and Copy/Print Electron
  Pro (2/2520 18)($47.51).


           The motion to tax Item 12 is GRANTED in the amount of $65.52.
                                                                                                         $

           Item 16 (Other).
                                                                                                         to


                                                                                      $376.99 for
        Defendant seeks to tax $1,382.27 for travel expenses not allowed by statute;



                                                                                                         i
                                                                              not allowed by
  messenger costs not allowed by statute; $413.03 for overnight (FedEx) costs
  statute; and $1,069.00 in improper miscellaneous costs.

                                                                                              court
          The Court finds that it is not reasonable to recover costs for traveling to attend
                                                                           § 1033.5(a  )(3)(C)). As
  hearings (as opposed to depositions, which are recoverable per CCP
                                                                                       However, the
  such. $ 1,382.27 for travel costs to attend hearings in court will be disallowed.
                                                                                                           *

                                                                       ent  16 to the Memora   ndum of
  Court finds that the other expenses incurred, reflected in Attachm                                     4?
                                                                                      commencement
  Costs Worksheet were reasonably incurred "expenses" in connection with the
  and prosecution of this action.

                                                                              7.
           The motion to tax Item No. 16 is GRANTED in the amount of $1,382.2

  Motion for Prejudgment Interest

                                                                                   Code § 3287(a) in
            Plaintiff moves for an award of prejudgment interest pursuant to Civil
                                                                                t to Civil Code §
  the amount of $17,775.72 or, alternatively, in the amount of $7,426.17 pursuan
  3287(b).


            Civil Code § 3287 provides:
                                                                                                         fc-
                                                                                       being made
            (a) A person who is entitled to recover damages certain, or capable of
                                                                                     person  upon
            certain by calculation, and the right to recover which is vested in the
                                                                                     day, except
            a particular day, is entitled also to recover interest thereon from that
                                                                         creditor from paying the
            when the debtor is prevented by law, or by the act of the
            debt. . . .

                                                                                   based
            (b) Every person who is entitled under any judgment to receive damages
                                                                                          also
            upon a cause of action in contract3 where the claim was unliquidated, may
                                                                                      court
            recover interest thereon from a date prior to the entry ofjudgment as the
                                                                                          was filed.
            may, in its discretion, fix, but in no event earlier than the date the action


   3 This language appears to distinguish actions "in tort."


                                                                                                         -b-
                                                               7
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     (Bold emphasis and underlining added.)

         For purposes of Plaintiff s request for prejudgment interest as a matter of right pursuant
  to Civil Code § 3287(a), and after considering all of the arguments of counsel, both at the
  hearing and by means of the supplemental briefing on t his issue, the Court agrees with Plaintiff
  that the damages were certain or capable of being made certain by calculation without a jury
  making factual findings as to damages, mileage offset and the civil penalty. This is based upon a
  simple fact: When the car was first presented for the repairs at issue in the lawsuit (i.e.,
  September 13, 2014) the "damages" began under the Song-Beverly Act - per the jury's inherent
  findings and verdict. Accordingly, the "amount" of these damages (to wit, prejudgment interest)
  can easily be calculated from that time point by an arithmetical process to a certainty.

          However, the court agrees with Defendant, that the Plaintiffs request is overstated, as a
  matter of law. Plaintiff incorrectly utilizes a "base damage" which include the civil penalties,
  instead of the adjusted and proper amount of $1 7,902.54.

         Utilizing the proper base of $17,902.54, and utilizing a more appropriate interest rate of
  7% per annum, the proper prejudgment interest to be awarded is $1,253.18 per calendar year (or
  $3.43 per calendar day). Hence, starting at 9/13/14 and ending at 3/1/18, the total amount of
  prejudgment interest is $4,335.78.

        Accordingly, Plaintiffs request for prejudgment interest pursuant to Civil Code § 3287(a)
  is GRANTED IN PART to $4,335.78.

         As for Plaintiffs request for $7,426.17 in prejudgment interest in the Court's discretion
  pursuant to Civil Code § 3287(b), the Court acknowledges that it appears that actions under the
  Song-Beverly Act are considered to be "in contract."

         In Kwan v. Mercedes-Benz ofNorth America, Inc. (1994) 23 Cal. Cal. App. 4th
         174, 188 [28 Cal. Rptr. 2d 371], the court construed section 1794 of the [Song-
         Beverly] Act, concluding its clear mandate "is that the compensatory damages
         recoverable for breach of the Act are those available to a buyer for a seller's
         breach of a sales contract." As to the statute's reference to California Uniform
         Commercial Code sections 2714 and 2715 regarding consequential damages, it
         construed those as damages normally accruing from breaches of contract.

     Bishop v. Hyundai Motor Am. (1996) 44 Cal.App.4th 750, 755.

         Nonetheless, the Court exercises its discretion not to award any prejudgment interest
  pursuant to Civil Code § 3287(b). To be blunt and frank: Plaintiff was extremely fortunate to
  recover what she did in judgment. An award of prejudgment interest would only add to the
  windfall she has already obtained by way of the judgment.

         Plaintiffs request for prejudgment interest in the amount of $7,426.17 pursuant to Civil
  Code § 3287(b) is DENIED.




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  Motion for Attorney's Fees


  Request for Judicial Notice

         Plaintiffs request that the Court take judicial notice of orders and rulings in other cases is
  DENIED as irrelevant to this Court's decision. The Court need only take judicial notice of
  relevant materials. Mangini v. R.J. Reynolds Tobacco Co. (1994) 7 Cal.4th 1057, 1063. The
  Court may deny a request for judicial notice of material unnecessary to its decision. Rivera v.
  First DataBank. Inc. (2010) 187 Cal.App.4th 709, 713.

  Defendant's Evidentiary Objections
                                                                                                           i
         Declaration of Payam Shahian


  Nos. 1-5: OVERRULED.

         Declaration of Christine Haw


  Nos. 1 - 4: OVERRULED.

  Plaintiffs Evidentiary Objections

         Declaration of Erin Tailent
                                                                                                          !i
  Nos. 1-61: OVERRULED.


  Analysis


         Plaintiff moves to recover attorney's fees in the total amount of $344,639.00, consisting
  of $226,426 in attorney's fees, a 0.50 multiplier enhancement ($1 13,213.00) on attorney's fees,
  and an additional $5,000 for Plaintiffs counsel to review Defendant's Opposition, draft the
  Reply brief, and attend the hearing on this motion.

         Civil Code § 1794(d) provides:


         (d) If the buyer prevails in an action under this section, the buyer shall be allowed
         by the court to recover as part of the judgment a sum equal to the aggregate
         amount of costs and expenses, including attorney's fees based on actual time
         expended, determined by the court to have been reasonably incurred by the
         buyer in connection with the commencement and prosecution of such action.


     (Bold emphasis added.)




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                                                                                                           3

         Here, in light of the fact that Plaintiff recovered $35,805.08 ($17,902.54 in damages and
  $17,902.54 in civil penalties), Plaintiff is the prevailing buyer under the Song-Beverly Act.

         The determination of reasonable amount of attorney fees is within the sound discretion of
  trial courts. PL.CM Group v. Drexler (2000) 22 Cal.4th 1084, 1095; Akins v. Enterprise Rent-A-
  Car Co. (2000) 79 Cal. App. 4th 1 127, 1 134. "The determination of what constitutes a
  reasonable fee generally "begins with the 'lodestar ' i.e.. the number of hours reasonably
  expended multiplied by the reasonable hourly rate           "[r]he lodestar' is the basic fee for
  comparable legal services in the community; it may be adjusted by the court based on factors
  including, as relevant herein, (1) the novelty and difficulty of the questions involved, (2) the skill
  displayed in presenting them, (3) the extent to which the nature of the litigation precluded other
  employment by the attorneys, (4) the contingent nature of the fee award...." Graciano v.
  Robinson Ford Sales. Inc. (2006) 144 Cal.App.4th 140, 154. In setting the hourly rate for an
  attorney fees award, courts are entitled to consider the rate of '"fees customarily charged by that
  attorney and others in the community for similar work.'" Bihun v. AT&T Information Systems.
  Inc. (1993) 13 Cal. App. 4th 976, 997 (affirming rate of $450 per hour), overruled on other
  grounds by Lakin v. Watkins Associated Indus. (1993) 6 Cal. 4th 644, 664. The burden is on the           1
  party seeking attorney fees to prove reasonableness of the fees. Center for Biological Diversity
  v. County of San Bernardino (20 10) 188 Cal. App. 4th 603, 615.

          The Court has broad discretion in determining the amount of a reasonable attorney's fee
  award which will not be overturned absent a "manifest abuse of discretion, a prejudicial error of
  law, or necessary findings not supported by substantial evidence." Bernardi v. County of
  Monterey (2008) 167 Cal. App. 4th 1379, 1393-94. The Court need not explain its calculation of
  the amount of attorney's fees awarded in detail; identifying the factors considered in arriving at
  the amount will suffice. Ventura v. ABM Industries Inc. (2012) 212 Cal.App.4th 258, 274-75.

         The Court finds that the hourly rates ranging from $325/hour to $595 an hour are                      4
  reasonable in the community. See Shahian Deck,        24-44. However, the Court notes that                   .V



  attorneys who bills at that hourly rate should not need to research routine issue of law and should
  resort to boilerplate when it will serve the client's purposes.                                              I
          The Court takes note of the relative absence of law and motion involved (only one
                                                                                                  in
  motion to compel and a motion for terminating sanctions), and the fact that the issues involved
  this case were applicable to other consumers' vehicles, thereby triggering economies of scale in
  terms of Plaintiff s counsel's efficiency in litigating this type of lemon law case. The Court
  acknowledges, however, that Plaintiffs' counsel prepared some discovery, which should not have
  required anything more than slight factual modification to existing boilerplate. Indeed, the
  Complaint only offers the barest detail specific to Plaintiff— the make, model and VIN of her
  vehicle, and a summary of the symptoms she encountered.        All other allegations should have
  been cut-and-pasted from language already prepared for past or existing clients.

         On the other hand, the Court acknowledges that considerable work was involved in trial
  preparation, as well as the trial itself.


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          The Court also agrees with Defendant's position set forth in the Opposition that the
  amounts billed are unreasonable, including dual billing of attorneys when the work of only one
  (at times) was reasonably required. However, the Court declines to adopt wholesale the amount
  of deductions proposed by Defendant.

           In light of the foregoing, the Court finds that the lodestar amount of attorney's fees is
  $95,900.00, which includes the fees incurred in connection with bringing the instant motion.
  This was calculated by finding a total amount of 274 hours which were reasonably incurred to
  date, at the average rate of $350 per hour. The Court in its discretion declines to apply a
  multiplier, for the reasons previously stated. This was not a complicated case. Plaintiff was
  lucky, in this Court's opinion, to win anything. This Court will not compound the generosity of
  the jury.


          On a final note, it is well established that a trial court has the discretion to deny a request
  for attorney's fees altogether, even though it may be required by law (as in this case), whenever
  the request for attorney's fees is grossly excessive and/or shocks the conscience of the court.

          "A fee request that appears unreasonably inflated is a special circumstance
          permitting the trial court to reduce the award or deny one altogether.'" (Serrano v.
                                                                                                              e-




          Unruh (1982) 32 Cal.3d 621, 635 [186 Cal. Rptr. 754, 652 P.2d 985]; accord,
          Ketchum v. Moses (2001) 24 Cal.4th 1 122, 1 137 [104 Cal. Rptr. 2d 377, 17 P.3d
          735].)
                                                                                                             t-
      Chavez v. City of Los Angeles (2010) 47 Cal. 4th 970, 990-991. (Emphasis added.)

                                                                                                             Nj


          Plaintiffs attorneys should be forewarned: This Court did seriously consider denying the
  motion for fees in its entirety, since the request of almost $350,000 was quite shocking and
  "unreasonably inflated."


           This Court is aware of the substantial fees and costs which are incurred in bringing a case
  to trial before a jury. It is also aware of the pro-consumer rationale of the Song Beverly Act in
  liberally awarding such fees and costs. This recognition is certainly reflected in this Court's
  decisions as tot the requested costs and "expenses." However, the requested fees, costs and
  expenses must be reasonable. A request of almost $350,000 in fees for this particular case -
  which this Court has essentially handled from beginning to end - is simply unacceptable.
  Indeed, the request for a multiplier was specious.

          Enough said.
                                                                                                            . %
          Plaintiffs motion for attorney's fees is GRANTED in amount of $95,900.00 which the
  Court finds to be the reasonable amount of attorney's fees for work performed on behalf of                 I
  Plaintiff in this case. Applying the offset of Defendants' attorney's fees and costs awarded
  herein, the total net amount of attorney's fees is $94,864.00.

          Clerk to give notice.




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  IT IS SO ORDERED.                             /

  Dated:   September 2 1 , 20 1 8
                                             Randolph M. Hammock
                                             Judge of the Superior Court




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                     1                                             PROOF OF SERVICE

                     2             I, Dolores M. Rivera, declare:

                     3          I am a citizen of the United States and employed in the City and County of San Francisco,
                         California. I am over the age of eighteen years and not a party to the within entitled action. My
                     4   business address is One Market, Spear Street Tower, San Francisco, CA 94105-1126.
                     5
                                   On May 22, 2020, I served a copy of the within document(s):
                     6
                                            DECLARATION OF GARRICK Y. CHAN IN SUPPORT OF DEFENDANT
                     7                       BMW OF NORTH AMERICA, LLC’S OPPOSITION TO PLAINTIFF’S
                                             MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                     8
                                          BY E-FILE: I caused such documents to be transmitted by e-file with the Clerk of
                     9
                                           the Court by using the CM/ECF system, which will send a notice of electronic filing
                    10                     to the following:

                    11   Gregory Sogoyan, Esq.                                Michael H. Rosenstein, Esq.
                         Strategic Legal Practices, APC                       Law Offices of Michael H. Rosenstein, LLC
                    12   1840 Century Park East, Ste 430                      10900 Wilshire Blvd., Suite 300
                         Los Angeles, CA 90067                                Los Angeles, CA 90024
                    13   Telephone:     (310) 929-4900                        Telephone:    310.286.0275
                    14   E-mail:gsogoyan@slpattorney.com                      Email: mrosenstein@rose-lawoffice.com
                                 emailservices@slpattorney.com
                    15
                         Dara Tabesh, Esq.
                    16   EcoTech Law Group, P.C.
                         5 Third St. Ste. 700
                    17   San Francisco, CA 94103
                    18   Telephone:      (415) 503-9164
                         E-mail:dara.tabesh@ecotechlaw.com
                    19   Attorney for Plaintiff,
                         Frederick J. Jurosky
                    20
                                   Executed on May 22, 2020 at San Francisco, California.
                    21
                                 I declare under penalty of perjury, under the laws of the State of California and the United
                    22
                         States of America, that I am employed in the office of a member of the bar of this court at whose
                    23   direction the service was made.

                    24
                                                                                           Dolores M. Rivera
                    25

                    26

                    27

                    28
MORGAN, LEWIS &
                                                                              1
 BOCKIUS LLP             PROOF OF SERVICE OF DEFENDANT’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF OPPOSITION
 ATTORNEYS AT LAW
 SAN FRANCISCO
                                     TO PLAINTIFF’S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                         DB2/ 38975971.1
